                                                     Case 12-81181                       Doc 1           Filed 08/09/12                       Page 1 of 65
B1 (Official Form 1)(12/11)
                                                  United States Bankruptcy Court
                                   Middle District of North Carolina (NC Exemptions)                                                                               Voluntary Petition
           }
           b
           k
           1
           {
           F
           o
           r
           m
           .
           V
           l
           u
           n
           t
           a
           y
           P
           e
           i




 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  McCrae, Tonya Gail


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):
  FKA Tonya McCrae McKnight



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                           Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-2577
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  809 Beebe Drive
  Durham, NC
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         27713
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Durham
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                               (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                            Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                            Chapter 9
     Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                            Chapter 11
     Partnership                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                Commodity Broker
                                                                    Clearing Bank
                                                                    Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                           Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                          (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                       under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,343,300 (amount subject to adjustment on 4/01/13 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000

Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
                                         Case 12-81181                Doc 1        Filed 08/09/12                Page 2 of 65
B1 (Official Form 1)(12/11)                                                                                                                                                 Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      McCrae, Tonya Gail
(This page must be completed and filed in every case)
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X /s/ for John T. Orcutt                                    August 9, 2012
                                                                                            Signature of Attorney for Debtor(s)                     (Date)
                                                                                              for John T. Orcutt #10212

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                         Case 12-81181                   Doc 1             Filed 08/09/12             Page 3 of 65
B1 (Official Form 1)(12/11)                                                                                                                                               Page 3
                                                                                            Name of Debtor(s):
Voluntary Petition                                                                            McCrae, Tonya Gail
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                 Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this                 I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                            is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and             proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                              (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                    I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                  Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                  Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,             of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                  recognition of the foreign main proceeding is attached.

                                                                                             X
 X /s/ Tonya Gail McCrae                                                                         Signature of Foreign Representative
     Signature of Debtor Tonya Gail McCrae

 X                                                                                               Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                                 Date
     Telephone Number (If not represented by attorney)                                              Signature of Non-Attorney Bankruptcy Petition Preparer
     August 9, 2012
                                                                                                 I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                        preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                 compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                             and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                                 110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                                 pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X /s/ for John T. Orcutt                                                                        chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                         of the maximum amount before preparing any document for filing for a
      for John T. Orcutt #10212                                                                  debtor or accepting any fee from the debtor, as required in that section.
                                                                                                 Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      The Law Offices of John T. Orcutt, PC
                                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      6616-203 Six Forks Road
      Raleigh, NC 27615                                                                          Social-Security number (If the bankrutpcy petition preparer is not
                                                                                                 an individual, state the Social Security number of the officer,
                                                                                                 principal, responsible person or partner of the bankruptcy petition
     Address                                                                                     preparer.)(Required by 11 U.S.C. § 110.)

                         Email: postlegal@johnorcutt.com
      (919) 847-9750 Fax: (919) 847-3439
     Telephone Number
     August 9, 2012
                                                                                                 Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the              X
     information in the schedules is incorrect.
                                                                                                 Date
                Signature of Debtor (Corporation/Partnership)
                                                                                                 Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                    person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                    Names and Social-Security numbers of all other individuals who prepared or
                                                                                                 assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United               not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                                 If more than one person prepared this document, attach additional sheets
                                                                                                 conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                                 A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                                 title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                              fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date
                                            Case 12-81181                Doc 1     Filed 08/09/12         Page 4 of 65
B6 Summary (Official Form 6 - Summary) (12/07)


         }
         b
         k
         1
         {
         F
         o
         r
         m
         6
         .
         S
         u
         a
         y
         f
         c
         h
         e
         d
         l
         s




                                                           United States Bankruptcy Court
                                                  Middle District of North Carolina (NC Exemptions)
 In re          Tonya Gail McCrae                                                                            Case No.
                                                                                                     ,
                                                                                    Debtor
                                                                                                             Chapter                     13




                                                               SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                         ATTACHED           NO. OF         ASSETS                  LIABILITIES               OTHER
                                                       (YES/NO)          SHEETS

A - Real Property                                         Yes             1                  177,204.00


B - Personal Property                                     Yes             14                  20,564.42


C - Property Claimed as Exempt                            No              0


D - Creditors Holding Secured Claims                      Yes             2                                            215,488.70


E - Creditors Holding Unsecured                           Yes             3                                              9,717.65
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes             3                                              4,078.41
    Nonpriority Claims

G - Executory Contracts and                               Yes             1
   Unexpired Leases

H - Codebtors                                             Yes             1


I - Current Income of Individual                          Yes             2                                                                       4,013.56
    Debtor(s)

J - Current Expenditures of Individual                    Yes             2                                                                       4,230.33
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                29


                                                                    Total Assets             197,768.42


                                                                                      Total Liabilities                229,284.76




Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com                                                                  Best Case Bankruptcy
                                           Case 12-81181                    Doc 1      Filed 08/09/12           Page 5 of 65
Form 6 - Statistical Summary (12/07)


         }
         e
         b
         k
         r
         {
         t
         1
         a
         i
         F
         n
         o
         L
         m
         6
         .
         l
         S
         s
         c
         d
         R
         u
         y
         D
         f
         C




                                                           United States Bankruptcy Court
                                                 Middle District of North Carolina (NC Exemptions)
 In re           Tonya Gail McCrae                                                                                   Case No.
                                                                                                          ,
                                                                                        Debtor
                                                                                                                     Chapter              13


              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                   Amount

             Domestic Support Obligations (from Schedule E)                                                       0.00

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
                                                                                                              9,717.65

             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)
                                                                                                                  0.00

             Student Loan Obligations (from Schedule F)                                                           0.00

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
                                                                                                                  0.00

             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)
                                                                                                                  0.00

                                                                             TOTAL                            9,717.65


             State the following:

             Average Income (from Schedule I, Line 16)                                                        4,013.56

             Average Expenses (from Schedule J, Line 18)                                                      4,230.33

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )                                                         5,989.22


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
                                                                                                                                26,803.70

             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
                                                                                                              8,548.38

             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column
                                                                                                                                 1,169.27

             4. Total from Schedule F                                                                                            4,078.41

             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                       32,051.38




Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com                                                                   Best Case Bankruptcy
                                      Case 12-81181                    Doc 1   Filed 08/09/12   Page 6 of 65
B 201A (Form 201A) (11/11)



                                      UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF NORTH CAROLINA (NC EXEMPTIONS)
                                      NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                               OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

           Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total Fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$46 administrative fee: Total fee $281)
           Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                     Best Case Bankruptcy
                                      Case 12-81181                    Doc 1   Filed 08/09/12   Page 7 of 65
Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

           Chapter 11: Reorganization ($1000 filing fee, $46 administrative fee: Total fee $1046)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

           Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                    Best Case Bankruptcy
                                      Case 12-81181                    Doc 1    Filed 08/09/12         Page 8 of 65



B 201B (Form 201B) (12/09)
                                                          United States Bankruptcy Court
                                                Middle District of North Carolina (NC Exemptions)
 In re     Tonya Gail McCrae                                                                                 Case No.
                                                                                 Debtor(s)                   Chapter        13

                                 CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                     UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                   Certification of Attorney
           I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.
for John T. Orcutt #10212                                                          X /s/ for John T. Orcutt                      August 9, 2012
Printed Name of Attorney                                                             Signature of Attorney                       Date
Address:
6616-203 Six Forks Road
Raleigh, NC 27615
(919) 847-9750
postlegal@johnorcutt.com

                                                                       Certification of Debtor
           I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
Tonya Gail McCrae                                                                  X /s/ Tonya Gail McCrae                       August 9, 2012
Printed Name(s) of Debtor(s)                                                         Signature of Debtor                         Date

Case No. (if known)                                                                X
                                                                                       Signature of Joint Debtor (if any)        Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                Best Case Bankruptcy
                                      Case 12-81181                    Doc 1   Filed 08/09/12          Page 9 of 65


                                                          United States Bankruptcy Court
                                                Middle District of North Carolina (NC Exemptions)
 In re       Tonya Gail McCrae                                                                                Case No.
                                                                               Debtor(s)                      Chapter       13

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  3,500.00
             Prior to the filing of this statement I have received                                        $                  3,500.00
             Balance Due                                                                                  $                       0.00

2.    $     281.00      of the filing fee has been paid.

3.    The source of the compensation paid to me was:

                  Debtor              Other (specify):

4.    The source of compensation to be paid to me is:

                  Debtor              Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d. [Other provisions as needed]
              Exemption planning, Means Test planning, and other items if specifically included in attorney/client fee contract
              or required by Bankruptcy Court local rule.

7.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the debtors in any dischareability actions, judicial lien avoidances, relief from stay actions or
              any other adversary proceeding, and any other items excluded in attorney/client fee contract or excluded by
              Bankruptcy Court local rule.

                  Fee also collected, where applicable, include such things as: Pacer access: $10 per case, Credit Reports: $10
                  each, Judgment Search: $10 each, Credit Counseling Certification: Usually $34 per case, Financial Management
                  Class Certification: Usually $8 each, Use of computers for Credit Counseling briefing or Financial Managment
                  Class: $10 per session, or paralegal typing assistance regarding credit counseling briefing: $75 per session.
                                                                         CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

Dated:       August 9, 2012                                                    /s/ for John T. Orcutt
                                                                               for John T. Orcutt #10212
                                                                               The Law Offices of John T. Orcutt, PC
                                                                               6616-203 Six Forks Road
                                                                               Raleigh, NC 27615
                                                                               (919) 847-9750 Fax: (919) 847-3439
                                                                               postlegal@johnorcutt.com




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                       Best Case Bankruptcy
                                     Case 12-81181                     Doc 1   Filed 08/09/12   Page 10 of 65



B 1D (Official Form 1, Exhibit D) (12/09)
                                                          United States Bankruptcy Court
                                                Middle District of North Carolina (NC Exemptions)
 In re     Tonya Gail McCrae                                                                        Case No.
                                                                                Debtor(s)           Chapter     13




                 EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                 CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.
           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.
           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.
          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                 Best Case Bankruptcy
                                        Case 12-81181                  Doc 1      Filed 08/09/12     Page 11 of 65



B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                            Page 2

                       Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
            mental deficiency so as to be incapable of realizing and making rational decisions with respect to
            financial responsibilities.);
                       Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
            unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
            through the Internet.);
                       Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
            I certify under penalty of perjury that the information provided above is true and correct.

                                                  Signature of Debtor:            /s/ Tonya Gail McCrae
                                                                                  Tonya Gail McCrae
                                                  Date:          August 9, 2012




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                 Best Case Bankruptcy
                                         Case 12-81181                   Doc 1    Filed 08/09/12       Page 12 of 65
B6A (Official Form 6A) (12/07)


         }
         b
         k
         1
         {
         S
         c
         h
         e
         d
         u
         l
         A
         -
         R
         a
         P
         r
         o
         p
         t
         y




 In re         Tonya Gail McCrae                                                                               Case No.
                                                                                                   ,
                                                                                     Debtor

                                                         SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                   Husband,    Current Value of
                                                                           Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
               Description and Location of Property                        Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                  Community Deducting  any Secured
                                                                                                              Claim or Exemption

House and Land                                                             Sole Interest               -                  177,204.00               204,007.70
809 Beebe Drive
Durham, North Carolina 27713

Valuation Method (Sch. A & B) : FMV unless
otherwise noted.




                                                                                                   Sub-Total >            177,204.00       (Total of this page)

                                                                                                           Total >        177,204.00
  0    continuation sheets attached to the Schedule of Real Property
                                                                                                   (Report also on Summary of Schedules)
Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com                                                                     Best Case Bankruptcy
                                         Case 12-81181                   Doc 1    Filed 08/09/12          Page 13 of 65
B6B (Official Form 6B) (12/07)


         }
         k
         b
         {
         1
         S
         c
         h
         e
         d
         u
         l
         B
         -
         P
         r
         s
         o
         n
         a
         p
         t
         y




 In re         Tonya Gail McCrae                                                                                  Case No.
                                                                                                      ,
                                                                                     Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                  Husband,        Current Value of
               Type of Property                       O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                   Joint, or   without Deducting any
                                                      E                                                                 Community Secured Claim or Exemption

1.    Cash on hand                                        Cash on Hand                                                       -                            85.00

2.    Checking, savings or other financial                Checking Account                                                   -                           600.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,                  State Employees' Credit Union
      thrift, building and loan, and
      homestead associations, or credit                   Savings Account                                                    -                           444.24
      unions, brokerage houses, or
      cooperatives.                                       State Employees' Credit Union

                                                          Savings Account                                                    -                            25.18

                                                          State Employees' Credit Union

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                    Household Goods and Furnishings                                    -                        2,105.00
      including audio, video, and
      computer equipment.

5.    Books, pictures and other art                   X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                    Clothing                                                           -                           750.00

7.    Furs and jewelry.                                   Jewelry                                                            -                            25.00

8.    Firearms and sports, photographic,              X
      and other hobby equipment.

9.    Interests in insurance policies.                X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.




                                                                                                                             Sub-Total >            4,034.42
                                                                                                                 (Total of this page)

  3    continuation sheets attached to the Schedule of Personal Property

Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com                                                                          Best Case Bankruptcy
                                         Case 12-81181                   Doc 1    Filed 08/09/12          Page 14 of 65
B6B (Official Form 6B) (12/07) - Cont.




 In re         Tonya Gail McCrae                                                                                  Case No.
                                                                                                      ,
                                                                                     Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                            (Continuation Sheet)

                                                      N                                                                  Husband,        Current Value of
               Type of Property                       O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                   Joint, or   without Deducting any
                                                      E                                                                 Community Secured Claim or Exemption

10. Annuities. Itemize and name each                  X
    issuer.

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated               X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                              X

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.




                                                                                                                             Sub-Total >                  0.00
                                                                                                                 (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com                                                                          Best Case Bankruptcy
                                         Case 12-81181                   Doc 1    Filed 08/09/12          Page 15 of 65
B6B (Official Form 6B) (12/07) - Cont.




 In re         Tonya Gail McCrae                                                                                  Case No.
                                                                                                      ,
                                                                                     Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                            (Continuation Sheet)

                                                      N                                                                  Husband,        Current Value of
               Type of Property                       O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                   Joint, or   without Deducting any
                                                      E                                                                 Community Secured Claim or Exemption

21. Other contingent and unliquidated                 X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                    Automobile                                                         -                        2,220.00
    other vehicles and accessories.                       2000 Toyota Camry
                                                          VIN: 2C3KA53G27H663737
                                                          Insurance Policy: Nationwide - 6132C332-366
                                                          Mileage: 75,959

                                                          Automobile                                                         -                      14,310.00
                                                          2007 Chrysler 300
                                                          VIN: 4T1BG22K0YU942550
                                                          Insurance Policy: Nationwide - 6132C322-366
                                                          Mileage: 168,650

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X

28. Office equipment, furnishings, and                X
    supplies.

29. Machinery, fixtures, equipment, and               X
    supplies used in business.

30. Inventory.                                        X

31. Animals.                                          X




                                                                                                                             Sub-Total >          16,530.00
                                                                                                                 (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com                                                                          Best Case Bankruptcy
                                         Case 12-81181                   Doc 1    Filed 08/09/12          Page 16 of 65
B6B (Official Form 6B) (12/07) - Cont.




 In re         Tonya Gail McCrae                                                                                  Case No.
                                                                                                      ,
                                                                                     Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                            (Continuation Sheet)

                                                      N                                                                  Husband,        Current Value of
               Type of Property                       O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                   Joint, or   without Deducting any
                                                      E                                                                 Community Secured Claim or Exemption

32. Crops - growing or harvested. Give                X
    particulars.

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X

35. Other personal property of any kind                   Possible Consumer Rights Claim(s)                                   -                     Unknown
    not already listed. Itemize.                          Subject to Approval of Settlement/Award by
                                                          Bankruptcy Court




                                                                                                                             Sub-Total >                  0.00
                                                                                                                 (Total of this page)
                                                                                                                                  Total >         20,564.42
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                         (Report also on Summary of Schedules)
Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com                                                                          Best Case Bankruptcy
                                 Case 12-81181              Doc 1    Filed 08/09/12         Page 17 of 65
                                 UNITED STATES BANKRUPTCY COURT
                            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                         DURHAM DIVISION

 In Re:
 Tonya Gail McCrae                                                       Case No. _________________________
 Social Security No.: xxx-xx-2577
 Address: 809 Beebe Drive, Durham, NC 27713                                                                       Form 91C (rev. 11/29/10)
                                                         Debtor.

                              DEBTOR'S CLAIM FOR PROPERTY EXEMPTIONS
The undersigned Debtor hereby claims the following property as exempt pursuant to 11 U.S.C. Sections 522(b)(3)(A),(B), and (C), the North
Carolina General Statues, and non-bankruptcy federal law. Undersigned Debtor is claiming and intends to claim as exempt 100% of Debtor’s
interest in each and every item listed, irrespective of the actual value claimed as exempt.

1. RESIDENCE EXEM PTION: REAL OR PERSONAL PROPERTY USED AS A RESIDENCE OR BURIAL PLOT.
   Each debtor can retain an aggregate interest in such property, not to exceed a total net value of $35,000. (N.C.G.S. § 1C-1601(a)(1) (NC
   Const. Article X, Section 2)(See * below)
         Description of                       Market                Mortgage Holder or                 Amount of                       Net
       Property & Address                     Value                    Lien Holder                   Mortgage or Lien                  Value

 House and Land                               $177,204.00     Bank of America Home Loans                     $201,000.00                       $0.00
 809 Beebe Drive                                              LVNV Funding, LLC.                                3,007.70
 Durham, NC 27713                                                                                            $204,007.70


                                                                                                 TOTAL NET VALUE:                              $0.00

                                                                                   VALUE CLAIM ED AS EXEM PT:                          $30,000.00

                                                                             UNUSED AM OUNT OF EXEM PTION:                               $5,000.00

    RESIDENCE EXEM PTION: REAL OR PERSONAL PROPERTY USED AS A RESIDENCE OR BURIAL PLOT.
     Exception to $18,500 limit: An unmarried debtor who is 65 years of age or older is entitled to retain an aggregate interest in property not
    to exceed $60,000 in net value, so long as: (1) the property was previously owned by the debtor as a tenant by the entireties or as a joint
    tenant with rights of survivorship and (2) the former co-owner of the property is deceased, in which case the debtor must specify his/her age
    and the name of the former co-owner (if a child use initials only) of the property below. (N.C.G.S. § 1C-1601(a)(1) (NC Const. Article X,
    Section 2)(See * below)
         Description of                       Market                Mortgage Holder or                 Amount of                       Net
       Property & Address                     Value                    Lien Holder                   Mortgage or Lien                  Value


                                              minus 6%



      Debtor's Age:                                                                              TOTAL NET VALUE:

      Name of former co-owner:                                                     VALUE CLAIM ED AS EXEM PT:

                                                                             UNUSED AM OUNT OF EXEM PTION:                             $60,000.00
* Note to all interested parties: Notwithstanding the above, in the event that: (1) this concerns a Chapter 13 case filed within 12 months after the
dismissal of a prior bankruptcy case, and (2) a creditor has, prior to the filing of this case, taken an "action" as that term is defined in In re:
Paschal, 337 B.R. 27 (2006), the debtor(s) do not claim the property as exempt, in which case the above information is provided for the sole
purpose of determining compliance as required by 11 U.S.C. 1325(a)(4).
                                 Case 12-81181           Doc 1     Filed 08/09/12         Page 18 of 65
2. TENANCY BY THE ENTIRETY: All the net value in the following property is claimed as exempt pursuant to 11 U.S.C. § 522(b)(3)(B)
   and the law of the State of North Carolina pertaining to property held as tenants by the entirety. (No limit on amount or number of
   items.)(See * above which shall also apply with respect to this exemption.)


                                                      Description of Property & Address

 1. House and Land - 809 Beebe Drive, Durham, NC 27713

 2.


3. M OTOR VEHICLE EXEM PTION: Each debtor can claim an exemption in only one vehicle, not to exceed $3,500.00 in net value.
   (N.C.G.S. § 1C-1601(a)(3))


      Year, Make, Model, Style
          of Motor Vehicle             Market Value                   Lien Holder                   Amount of Lien              Net Value

 2000 Toyota Camry                           $2,220.00     N/A                                                    $0.00             $2,220.00


                                                                                              TOTAL NET VALUE:                      $2,220.00

                                                                                   VALUE CLAIM ED AS EXEM PT:                       $3,500.00

4. TOOLS OF TRADE, IM PLEM ENTS, OR PROFESSIONAL BOOKS: (Each debtor can retain an aggregate interest, not to exceed
   $2,000.00 in net value.) (N.C.G.S. § 1C-1601(a)(5))


            Description               Market Value                  Lien Holder                    Amount of Lien               Net Value




                                                                                              TOTAL NET VALUE:

                                                                                   VALUE CLAIM ED AS EXEM PT:                            $0.00


5. PERSONAL PROPERTY USED FOR HOUSEHOLD OR PERSONAL PURPOSES: Each debtor can retain a total aggregate interest,
   not to exceed $5,000.00 in net value, plus $1000.00 in net value for each dependent of the debtor (not to exceed $4,000 total for dependents.)
   (N.C.G.S. § 1C-1601(a)(4) & NC Const., Article X, Section 1)

      The number of dependents for exemption purposes is:_______0_______


      Description of Property         Market Value                   Lien Holder                   Amount of Lien               Net Value

 Clothing & Personal                                                                                                                  $750.00

 Kitchen Appliances                                                                                                                   $300.00

 Stove                                                                                                                                $150.00

 Refrigerator                                                                                                                          $75.00

 Freezer                                                                                                                               $50.00

 W ashing Machine                                                                                                                      $50.00

 Dryer                                                                                                                                 $40.00

 China                                                                                                                                $100.00

 Silver                                                                                                                                $25.00

 Jewelry                                                                                                                               $25.00
                             Case 12-81181         Doc 1      Filed 08/09/12       Page 19 of 65
 Living Room Furniture                                                                                                           $0.00

 Den Furniture                                                                                                                $175.00

 Bedroom Furniture                                                                                                            $200.00

 Dining Room Furniture                                                                                                        $350.00

 Lawn Furniture                                                                                                                $75.00

 Television                                                                                                                   $100.00

 ( ) Stereo ( ) Radio                                                                                                          $50.00

 ( ) VCR ( ) Video Camera                                                                                                      $20.00

 Musical Instruments                                                                                                             $0.00

 ( ) Piano ( ) Organ                                                                                                             $0.00

 Air Conditioner                                                                                                              $100.00

 Paintings or Art                                                                                                             $150.00

 Lawn Mower                                                                                                                    $25.00

 Yard Tools                                                                                                                    $20.00

 Crops                                                                                                                           $0.00

 Recreational Equipment                                                                                                          $0.00

 Computer Equipment                                                                                                            $50.00


                                                                                       TOTAL NET VALUE:                     $2,880.00

                                                                           VALUE CLAIM ED AS EXEM PT:                       $5,000.00


6.   LIFE INSURANCE: There is no limit on amount or number of policies. (N.C.G.S. § 1C-1601(a)(6) & NC Const., Article X, Sect. 5)
                                                                             Last 4 Digits                   Beneficiary
         Description & Company                      Insured
                                                                           of Policy Number          (If child, use initials only)




7.   PROFESSIONALLY PRESCRIBED HEALTH AIDS: Debtor or Debtor's Dependents. (No limit on value.) (N.C.G.S. § 1C-1601(a)(7))


 Description




8.   COM PENSATION FOR PERSONAL INJURY, INCLUDING COM PENSATION FROM PRIVATE DISABILITY POLICIES
     OR ANNUITIES, OR COM PENSATION FOR THE DEATH OF A PERSON UPON W HOM THE DEBTOR W AS DEPENDENT
     FOR SUPPORT. There is no limit on this exemption. All such amounts are claimed as exempt. (The compensation is not exempt from
     related legal, health or funeral expenses.) (N.C.G.S. § 1C-1601(a)(8))


                                                                                                         Last 4 Digits of
               Description                            Source of Compensation
                                                                                                       Any Account Number

 Possible Consumer Rights Claim(s)     Unknown                                                 Unknown
 Subject to Approval of
 Settlement/Award by Bankruptcy
 Court
                               Case 12-81181            Doc 1      Filed 08/09/12          Page 20 of 65
9.   INDIVIDUAL RETIREM ENT PLANS AS DEFINED IN THE INTERNAL REVENUE CODE AND ANY PLAN TREATED IN
     THE SAM E M ANNER AS AN INDIVIDUAL RETIREM ENT PLAN UNDER THE INTERNAL REVENUE CODE. (N.C.G.S. §
     1C-1601(a)(9)) (No limit on number or amount.). Debtor claims an exemption in all such plans, plus all other RETIREM ENT FUNDS
     as defined in 11 U.S.C. Section 522(b)(3)(c).

10. COLLEGE SAVINGS PLANS QUALIFIED UNDER SECTION 529 OF THE INTERNAL REVENUE CODE. Total net value not
    to exceed $25,000. If funds were placed in a college savings plan within the 12 months prior to filing, such contributions must have been
    made in the ordinary course of the debtor's financial affairs and must have been consistent with the debtor's past pattern of contributions.
    The exemption applies to funds for a child of the debtor that will actually be used for the child's college or university expenses. (N.C.G.S.
    § 1C-1601(a)(10))


                  College Savings                           Last 4 Digits of                     Initials of
                                                                                                                                  Value
                        Plan                                Account Number                    Child Beneficiary




                                                                                 VALUE CLAIM ED AS EXEM PT:                               $0.00


11. RETIREM ENT BENEFITS UNDER TH E RETIREM ENT PLANS OF OTHER STATES AND GOVERNM ENT UNITS OF
    OTHER STATES. (The debtor's interest is exempt only to the extent that these benefits are exempt under the law of the State or
    governmental unit under which the benefit plan is established.) (N.C.G.S. § 1C-1601(a)(11))


                                                                                         Last 4 Digits of Identifying
          Name of Retirement Plan                  State or Governmental Unit                                                     Value
                                                                                                  Number




                                                                                 VALUE CLAIM ED AS EXEM PT:                               $0.00


12. ALIM ONY, SUPPORT, SEPARATE M AINTENANCE, AND CHILD SUPPORT PAYM ENTS OR FUNDS THAT HAVE BEEN
    RECEIVED OR TO W HICH THE DEBTOR IS ENTITLED (The debtor's interest is exempt to the extent the payments or funds are
    reasonably necessary for the support of the debtor or any dependent of the debtor.) (N.C.G.S. § 1C-1601(a)(12))


                    Type of Support                                             Location of Funds                                Amount




                                                                                 VALUE CLAIM ED AS EXEM PT:                               $0.00


13. W ILDCARD EXEM PTION: Each debtor can retain a total aggregate interest in any other property, not to exceed a net value of $5,000.00,
    or the unused portion of the debtor's residence exemption , whichever is less. (N.C.G.S. § 1C-1601(a)(2))


         Description of the Property              Market Value               Lien Holder              Amount of Lien            Net Value

 Any property owned by the debtor(s), not                                                                                           $2,171.00
 otherwise claimed as exempt.

 2007 Chrysler 300                                    $14,210.00         Regional Acceptance                $11,481.00              $2,829.00


                                                                                               TOTAL NET VALUE:                     $5,000.00

                                                                                 VALUE CLAIM ED AS EXEM PT:                         $5,000.00
                                Case 12-81181              Doc 1       Filed 08/09/12      Page 21 of 65
14. OTHER EXEM PTIONS CLAIM ED UNDER THE LAW S OF THE STATE OF NORTH CAROLINA:
                                                                                                                                Amount

 Aid to the Aged, Disabled and Families with Dependent Children N.C.G.S. § 108A-36

 Aid to the Blind N.C.G.S. § 111-18

 Yearly Allowance of Surviving Spouse N.C.G.S. § 30-15

 North Carolina Local Government Employees Retirement Benefits N.C.G.S. § 128-31

 North Carolina Teachers and State Employee Retirement Benefits N.C.G.S. § 135-9                                          $2,109.45/Mth

 Fireman's and Rescue Workers' Pensions N.C.G.S. § 58-86-90

 Workers Compensation Benefits N.C.G.S. § 97-21

 Unemployment benefits, so long as not commingled and except for debts for necessities purchased while unemployed
 N.C.G.S. § 96-17

 Group Insurance Proceeds N.C.G.S. § 58-58-165

 Partnership Property, except on a claim against the partnership N.C.G.S. § 59-55

 Wages of Debtor necessary for the support of family N.C.G.S. § 1-362


                                                                                    VALUE CLAIM ED AS EXEM PT:            $2,109.45/Mth


15. EXEM PTIONS CLAIM ED UNDER NON-BANKRUPTCY FEDERAL LAW :
                                                                                                                                Amount

 Foreign Service Retirement and Disability Payments 22 U.S.C. § 4060

 Social Security Benefits 42 U.S.C. § 407

 Injury or death compensation payments from war risk hazards 42 U.S.C. § 1717

 W ages of Fishermen, Seamen and Apprentices, 46 U.S.C. § 11108 &11109

 Civil Service Retirement Benefits 5 U.S.C. § 8346

 Longshoremen and Harbor W orkers Compensation Act death and disability benefits 33 U.S.C. § 916

 Railroad Retirement Act annuities and pensions 45 U.S.C. § 231m

 Veteran benefits 38 U.S.C. § 5301

 Special pension paid to winners of Congressional Medal of Honor 38 U.S.C. § 1562


                                                                                      VALUE CLAIMED AS EXEMPT:                            $0.00

                                      UNSW ORN DECLARATION UNDER PENALTY OF PERJURY

I, the undersigned Debtor, declares under penalty of perjury that I have read the foregoing document, consisting of 14 paragraphs on consecutive
pages, and that they are true and correct to the best of my knowledge, information and belief.


Dated: August 9, 2012


                                                                                s/ Tonya Gail McCrae
                                                                               Tonya Gail McCrae
                               Case 12-81181             Doc 1       Filed 08/09/12         Page 22 of 65
                                           UNITED STATES BANKRUPTCY COURT
                                      FOR THE M IDDLE DISTRICT OF NORTH CAROLINA
                                                   DURHAM DIVISION


 In Re:
 Tonya Gail M cCrae                                                               PROPOSED CHAPTER 13 PLAN

 Social Security No.: xxx-xx-2577                                     Case No. __________________________
                                                                      Chapter 13
 Address: 809 Beebe Drive, Durham, NC 27713

                                                          Debtor.

The Debtor proposes an initial plan, which is subject to modification, as follows:

This document and the attached CH. 13 PLAN - DEBTS SHEET (M IDDLE) shall, together, constitute the proposed plan; and all
references herein are to corresponding sections of said attached document. The terms and conditions of this proposed plan shall control
and apply except to the extent that they contradict the terms and conditions of the order confirming the Chapter 13 plan entered by this
Court in this case:

1.   Payments to the Trustee: The Debtor proposes to pay to the Trustee from future earnings consecutively monthly payments, for
     distribution to creditors after payment of costs of administration. See "PROPOSED PLAN PAYM ENT" section for amount of
     monthly payment and the duration. Actual duration will be determined in accordance with the provisions set forth in the Paragraph
     2 below.
2.   Duration of Chapter 13 Plan: at the earlier of, the expiration of the Applicable Commitment Period or the payment to the Trustee
     of a sum sufficient to pay in full: (A) Allowed administrative priority claims, including specifically the Trustee's commissions and
     attorneys' fees and expenses ordered by the Court to be paid to the Debtor's Attorney, (B) Allowed secured claims (including but not
     limited to arrearage claims), excepting those which are scheduled to be paid directly by the Debtor "outside" the plan, (C) Allowed
     unsecured priority claims, (D) Cosign protect consumer debt claims (only where the Debtor proposes such treatment), (E) Post-petition
     claims allowed under 11 U.S.C. § 1305, (F) The dividend, if any, required to be paid to non-priority, general unsecured creditors (not
     including priority unsecured creditors) pursuant to 11 U.S.C. § 1325(b)(1)(B), and (G) Any extra amount necessary to satisfy the
     "liquidation test" as set forth in 11 U.S.C. § 1325(a)(4).
3.   Payments made directly to creditors: The Debtor proposes to make regular monthly payments directly to the following creditors:
      See "RETAIN COLLATERAL & PAY DIRECT OUTSIDE PLAN" section. It shall not be considered a violation of the automatic
     stay if, after the bankruptcy filing, a secured creditor sends to the Debtor payment coupon books or monthly payment invoices with
     respect to debts set forth in this section of the plan.
4.   Disbursements by the Trustee: The Debtor proposes that the Trustee make the following distributions to creditors holding allowed
     claims, after payment of costs of administration as follows: See "INSIDE PLAN" section. More specifically:
     a. The following secured creditors shall receive their regular monthly contract payment: See "LTD - Retain / DOT on Principal
          Res./Other Long Term Debts" section. At the end of the plan, the Debtor will resume making payments directly to the creditor
          on any such debt not paid in full during the life of the plan.
     b. The following secured creditors shall be paid in full on their arrearage claims over the life of the plan on a pro-rata basis with other
          secured claims (not including LTD claims): See "Arrearage Claims" section.
     c. The following creditors have partially secured and partially unsecured claims. The secured part of the claim shall be paid in full
          over the life of the plan on a pro-rata basis with other secured claims (not including LTD claims): See "STD - Retain/Secured
          Debts (Paid at FM V)" and "Secured Taxes" sections.
     d. The following secured creditors shall be paid in full over the life of the plan on a pro-rata basis with other secured claims (not
          including LTD claims): See "STD - Retain / Secured Debts & 910 Vehicles (Pay 100% )" section.
     e. The following priority claims shall be paid in full by means of deferred payment: See "Unsecured Priority Debts" section.
     f. The following co-signed claims shall be paid in full, plus interest at the contract rate, by means of deferred payments: See "Cosign
          Protect Debts (Pay 100% )" section.
     g. After payment of allowed costs of administration, priority and secured claims, the balance of the funds paid to the Trustee shall
          be paid to allowed, general unsecured, non-priority claims. See "General Unsecured Non-Priority Debts" section.
5.   Property to be surrendered: The Debtor proposes to retain all property serving as collateral for secured claims, except for the
     following property, which shall be surrendered to the corresponding secured creditor(s): See "SURRENDER COLLATERAL"
     section. Unless an itemized Proof of Claim for any deficiency is filed within 120 days after confirmation of this plan, said creditor
     shall not receive any further disbursement from the trustee. Any personal property serving as collateral for a secured claim which is
     surrendered, either in the confirmation order or by other court order, which the lien holder does not take possession of within 240
     days of the entry of such order shall be deemed abandoned and said lien cancelled.
6.   Executory contracts: The Debtor proposes to assume all executory contracts and leases, except those specifically rejected. See
                               Case 12-81181             Doc 1       Filed 08/09/12           Page 23 of 65
    "REJECTED EXECUTORY CONTRACTS / LEASES" section.
7.  Retention of Consumer Rights Causes of Action: Confirmation of this plan shall constitute a finding that the Debtor does not waive,
    release or discharge but rather retains and reserves for herself and the Chapter 13 Trustee any and all pre-petition claims and any and
    all post-petition claims that she could or might assert against any party or entity arising under or otherwise related to any state or federal
    consumer statute or under state or federal common law including but not limited to fraud, misrepresentation, breach of contract, unfair
    and deceptive acts and practices, retail installment sales act violations, Truth in Lending violations, Home Equity Protection Act
    violations, Real Estate Settlement Protection Act violations, Fair Debt Collection Practices Act violations, Fair Credit Reporting Act
    violations, Equal Credit Opportunity Act violations, Fair Credit Billing Act violations, Consumer Leasing Act violations, Federal
    Garnishment Act violations, Electronic Funds Transfer Act violations, and any and all violations arising out of rights or claims
    provided for by Title 11 of the United States Code, by the Federal Rules of Bankruptcy Procedure, or by the Local Rules of this Court.
8. Standing for Consumer Rights Causes of Action: Confirmation of this plan shall vest in the Debtor full and complete standing
    to pursue any and all claims against any parties or entities for all rights and causes of action provided for under or arising out of Title
    11 of the United States Code including but not limited to the right to pursue claims for the recovery of property of this estate by way
    of turnover proceedings, the right to recover pre-petition preferences, the right to pursue automatic stay violations, and the right to
    pursue discharge violations.
9. Termination of Liens: Upon the full payment of a secured party's underlying debt determined under non-bankruptcy law or the
    granting of a discharge pursuant to 11 U.S.C. § 1328, the secured party shall within 10 days after demand and, in any event, within
    30 days, execute a release of its security interest on the property securing said claim. In the case of a motor vehicle, said secured
    creditor shall execute a release on the title thereto in the space provided therefore on the certificate or as the Division of Motor
    Vehicles prescribes, and mail or deliver the certificate and release to the Debtor or the Debtor's Attorney. Confirmation of this plan
    shall impose an affirmative and direct duty on each such secured party to comply with the provision and upon failure to so comply.
    This provision may be enforced in a proceeding filed before the Bankruptcy Court and each such creditor consents to such jurisdiction
    by failure to file any timely objection to this plan. Such an enforcement proceeding may be filed by the Debtor in this case either
    before or after the entry of the discharge order and either before or after the closing of this case. The Debtor specifically reserves
    the right to file a motion to reopen this case under 11 U.S.C. § 350 to pursue the rights and claims provided for herein.
10. Jurisdiction for Non-Core M atters: Confirmation of this plan shall constitute the expressed consent by any party in interest in this
    case, or any one or more of them, including all creditor or other parties duly listed in Schedules D, E, F, G, and H, or any amendments
    thereto, to the referral of a proceeding related to a case under Title 11 of the United States Code to a Bankruptcy Judge to hear and
    determine and to enter appropriate orders and judgments as provided for by 28 U.S.C. § 157(c)(2).
11. Obligations of M ortgagors: Confirmation of this plan shall impose an affirmative duty on the holders of all claims secured by
    mortgages or deeds of trust on real property of this estate to:
    a. Pursuant to 11 U.S.C. § 1326, adequate protection payments shall not be made on allowed secured claims secured by real property
         prior to confirmation. This provision shall not preclude such a claim-holder from requesting additional adequate protection
         pursuant to 11 U.S.C. § 362(d);
    b. Apply any payments received from the Trustee under the plan as the same is designated by the Trustee only to the pre-petition
         arrears provided for in the confirmed plan;
    c. Apply any payments received from the Trustee under the plan as the same is designated by the Trustee, that is to either pre-petition
         interest or pre-petition principal as the case may be;
    d. Apply all post-petition payments received from the Chapter 13 Trustee under the plan as the same is designated by the Trustee,
         to the post-petition mortgage obligations of the Debtor for the actual months for which such payments are designated;
    e. Apply all post-petition payments received directly from the Debtor to the post-petition mortgage obligations due;
    f. Refrain from the practice of imposing late charges when the only delinquency is attributable to the pre-petition arrears included
         in the plan;
    g. Refrain from the imposition of monthly inspection fees or any other type of bankruptcy monitoring fee without prior approval of
         the Bankruptcy Court after notice and hearing;
    h. Refrain from the imposition of any legal or paralegal fees or similar charges incurred following confirmation without prior
         approval of the Bankruptcy Court after notice and hearing;
    i. Pursuant to 12 U.S.C. § 2609, 15 U.S.C. § 1602, and all other applicable state, federal and contractual requirements, promptly
         notify the Debtor, the Debtor's Attorney and the Chapter 13 Trustee of any adjustment in the on-going payments for any reason,
         including, without limitation, changes resulting for Adjustable Rate Mortgages and/or escrow changes. The Debtor specifically
         agrees that provision of such notice shall not constitute a violation of 11 U.S.C. § 362;
    j. Pursuant to 11 U.S.C. § 524 and all other applicable state and federal laws, verify, at the request of the Debtor, Debtor's Attorney
         or Chapter 13 Trustee, that the payments received under the confirmed plan were properly applied;
    k. Pursuant to N.C.G.S. § 45-91 and all other applicable state, federal and contractual requirements notify the Debtor, the Debtor's
         Attorney and the Chapter 13 Trustee with notice of the assessment of any fees, charges etc. The Debtor specifically agrees that
         provision of such notice shall not constitute a violation of 11 U.S.C. § 362; and
    l. This provision of this plan may be enforced in a proceeding filed before the Bankruptcy Court and each such secured creditor
         consents to such jurisdiction by failure to file any timely objection to this plan. Such an enforcement proceeding may be filed by
         the Debtor in this case either before or after the entry of the discharge order and either before or after the closing of this case. The
         Debtor specifically reserves the right to file a motion to reopen this case under 11 U.S.C. § 350 to pursue the rights and claims
         herein.
                               Case 12-81181            Doc 1       Filed 08/09/12          Page 24 of 65
12. Arbitration: Acceptance by creditors of payments under this plan and/or failure of any creditor to file an objection to confirmation
    of the plan herein, constitutes waiver of any right(s) of said creditor(s) to seek enforcement of any arbitration agreement and constitutes
    consent to the removal of any arbitration clause from any type of contract or contracts with the Debtor herein during the pendency
    of this case.
13. Post-petition tax claims: The Debtor's plan shall provide for full payment of any post-petition tax claim filed by the Internal Revenue
    Service which are allowed pursuant to 11 U.S.C. § 1305 (b), unless the Internal Revenue Service, after a good faith consideration of
    the effect such a claim would have on the feasibility of the Debtor's Chapter 13 plan, specifically agrees to a different treatment of
    such claim. However, any future modification of the Debtor's plan to provide for full payment of any allowed post-petition tax claim
    shall only occur after the filing of a motion requesting a modification of the plan to that effect.
14. Offers in Compromise: The Internal Revenue Service shall, pursuant to I.R.C. §7122 (a) (2002) and 11 U.S.C. §§105 and 525 (a),
    and notwithstanding any provisions of the Internal Revenue Manual, consider any properly tendered Offer in Compromise by the
    Debtor. This provision shall not be construed to require the Internal Revenue Service to accept any such Offer in Compromise, but
    the Internal Revenue Service shall consider such Offer in Compromise as if the Debtor was not in an on-going bankruptcy. In the event
    that an Offer in Compromise is accepted by the Internal Revenue Service and any tax obligation is reduced, the Chapter 13 Trustee
    shall review the Chapter 13 payment to determine if a reduction in the plan payment is feasible.
15. Adequate Protection Payments: The Debtor proposes that all pre-confirmation adequate protection payments be paid as follows:
    a. Not later than 30 days after the date of the order for relief, the Debtor shall commence paying directly to the lessor all payments
         scheduled in a lease of personal property or portion thereof that become due after the said order for relief. Absent a timely
         objection to confirmation of the proposed plan, it shall be presumed that the Debtor has made such payments as required by 11
         U.S.C. § 1326(a)(1)(B) of the Bankruptcy Code.
    b. All pre-confirmation adequate protection payments required by 11 U.S.C. § 1326(a)(1)(c) payable to a creditor holding an
         allowed claim secured by personal property, to the extent that the claim is attributable to the purchase of such property by the
         Debtor shall be disbursed by the Chapter 13 Trustee.
    c. Each creditor entitled to receive a pre-confirmation adequate protection payment pursuant to 11 U.S.C. § 1326(a)(1)(c) shall be
         paid each month the amount set forth in the column entitled "Adequate Protection". These amounts shall equal 1.00% of the FMV
         of the property securing the corresponding creditor's claim or the monthly amount necessary to amortize the claim (computed at
         the Trustee's interest rate) over the life of the plan, whichever is less.
    d. The principal amount of the adequate protection recipient's claim shall be reduced by the amount of the adequate protection
         payments remitted to the recipient.
    e. All adequate protection payments disbursed by the Chapter 13 Trustee shall be subject to an administrative fee in favor of the
         Trustee equal to the Trustee's statutory percentage commission then in effect, and the Trustee shall collect such fee at the time
         of the distribution of the adequate protection payment to the creditor.
    f. All adequate protection payments disbursed by the Chapter 13 Trustee shall be made in the ordinary course of the Trustee's
         business from funds in this case as they become available for distribution.
    g. No adequate protection payment to a creditor who is listed in the plan as a secured creditor shall be required until a proof of claim
         is filed by such creditor which complies with Rule 3001 of the Federal Rules of Bankruptcy Procedure.
    h. The Trustee shall not be required to make pre-confirmation adequate protection payments on account of any claim in which the
         collateral for such claim is listed in the plan as having a value of less than $2,000.00.
    i. The names, addresses and account numbers for each secured creditor entitled to receive a pre-confirmation adequate protection
         payment as set forth on Schedule D filed in this case are incorporated herein, as if set forth herein at length.
    j. Adequate protection payments shall continue until all unpaid Debtor's Attorney's fees are paid in full.
16. Interest on Secured Claims:
    a. Arrearage: No interest shall accrue on any arrearage claim.
    b. Secured Debts Paid at FMV: The lesser of Trustee's interest rate (set pursuant to In re Till) and the contract interest rate.
    c. Secured Debts Paid in Full:
         i. Regarding "910 vehicle" claims: Pursuant to 11 U.S.C. §1322, interest only to the extent that the value , as of the effective
             date of the plan (hereinafter the “Time Value”), of the motor vehicle exceeds the amount of the claim. The Time Value shall
             be the total of the payments to amortize the FMV of the motor vehicle, defined as 90% of the N.A.D.A. Retail, at the Trustee’s
             interest rate over the total length of the Chapter 13 plan.
         ii. All other secured claims: The lesser of the Trustee’s interest rate and the contract interest rate.
17. Debtor's Attorney’s Fees: In the event that the Trustee has, at the time of Confirmation, funds in excess of any amounts necessary
    to make adequate protection payments to holders of allowed secured claims for personal property, specifically excluding payments
    for real property due between the filing of the petition and Confirmation, all such funds shall be paid towards unpaid Debtor's
    Attorney’s fees.
18. Non-Vesting: Property of the estate shall NOT re-vest in the Debtor upon confirmation of the Chapter 13 plan.
19. Real Estate Taxes Real estate taxes that are paid by the Debtor through an escrow account as part of any direct mortgage payment,
    or as part of a conduit payment made by the Trustee, shall continue to be paid by the Debtor through such escrow account and shall
    be disbursed by the servicer from such escrow account. They shall not be made separately by the Trustee.
20. Transfer of M ortgage Servicing: Pursuant to 12 U.S.C. § 2605(f), in the event that the mortgage servicing for any of the Debtor's
    mortgages is transferred during this case, notice of such transfer of service shall be provided to the Debtor, the Debtor's Attorney and
    the Chapter 13 Trustee within thirty (30) days. Such notice shall include the identity of the new servicer, the address and a toll-free
                               Case 12-81181             Doc 1       Filed 08/09/12           Page 25 of 65
     telephone number for the new servicer, instructions on whom to contact with authority regarding such servicing, and the location
     where the transfer of mortgage servicing is recorded.
21. 401K Loans: Upon payment in full of a 401K plan loan, the Debtor shall increase Debtor's 401K plan contributions by an amount
     equal to the amount that was being paid on said 401K loan.
22. Non-Disclosure of Personal Information: Pursuant to NCGS 75-66 and other state and federal laws, the Debtor objects to the
     disclosure of any personal information by any party, including without limitations, all creditors listed in the schedules filed in this case.
23. Other provisions of plan (if any): See "OTHER PROVISIONS" section.
                                                                Definitions
LTD:         Long Term Debt and refers to both: (1) Debts which cannot be modified due to 11 U.S.C. § 1322(b)(2), and (2) Debts where
             modification in the plan will not result in a payment lower than the contract payment.
STD:         Short Term Debt and refers to debts where the months left on the contract are less than or equal to 60 months.
Retain:      Means the Debtor intends to retain possession and/or ownership of the collateral securing a debt.
910:         Means and refers to the purchase money security interest portion of a claim secured by a motor vehicle, where the motor
             vehicle was acquired within 910 days before the filing of the bankruptcy case for the personal use of the Debtor.
Sch D #:     References the number of the secured debt as listed on Schedule D.
Int. Rate: Means Interest Rate to be paid a secured claim.

Dated: August 9, 2012
                                                                               s/ Tonya Gail McCrae
                                                                              Tonya Gail McCrae
(rev. 1/19/12)
                                              Case 12-81181                        Doc 1             Filed 08/09/12                   Page 26 of 65
                CH. 13 PLAN - DEBTS SHEET                                                                    Date:     6/18/12
               (MIDDLE DISTRICT - DESARDI VERSION)                                                   Lastname-SS#:     McCrae-2577
              RETAIN COLLATERAL & PAY DIRECT OUTSIDE PLAN                                                      SURRENDER COLLATERAL

                     Creditor Name            Sch D #    Description of Collateral                    Creditor Name                   Description of Collateral
 Retain




           ARREARAGE CLAIMS                                                                          REJECTED EXECUTORY CONTRACTS/LEASES
                                                           Arrearage
                     Creditor Name            Sch D #                      (See †)                    Creditor Name                   Description of Collateral
                                                            Amount
                                                                              **
                                                                              **
                                                                              **
 Retain




                                                                              **
                                                                              **
             Bank of America                                $24,715           **
                                                                              **
                                                                              **
                                                                              **

           LTD - DOT ON PRINCIPAL RESIDENCE & OTHER LONG TERM DEBTS
                                                            Monthly                        Adequate             Minimum
                     Creditor Name            Sch D #                   Int. Rate                                                     Description of Collateral
                                                        Contract Amount                    Protection         Equal Payment
             Bank of America                                 $1,586       N/A                  n/a               $1,586.00          House and Land
 Retain




                                                                             N/A               n/a
                                                                             N/A               n/a
                                                                             N/A               n/a

          STD - SECURED DEBTS @ FMV
                                                                                           Adequate             Minimum
                     Creditor Name            Sch D #        FMV          Int. Rate                                                   Description of Collateral
                                                                                           Protection         Equal Payment
             LVNV Funding, LLC                                 $0            5.25                                 $0.00             Judgment Lien
 Retain




                                                                             5.25
                                                                             5.25
                                                                             5.25

          STD - SECURED DEBTS @ 100%
                                                            Payoff                         Adequate             Minimum
                     Creditor Name            Sch D #                     Int. Rate                                                   Description of Collateral
                                                            Amount                         Protection         Equal Payment
             Regional Acceptance                            $11,481          5.25             $115               $242.33            2007 Chrysler 300
 Retain




                                                                             5.25
                                                                             5.25
                                                                             5.25
                                                                             5.25

 ATTORNEY FEE (Unpaid part)                                 Amount
     Law Offices of John T. Orcutt, P.C.
                                                                                       PROPOSED CHAPTER 13 PLAN PAYMENT
                                                               $1

 SECURED TAXES                                            Secured Amt
     IRS Tax Liens
                                                                                   $      $2,500               per month for         60            months

     Real Property Taxes on Retained Realty

 UNSECURED PRIORITY DEBTS                                   Amount                                     Adequate Protection Payment Period
     IRS Taxes                                              $3,777                      Adequate Protection payments shall
     State Taxes                                            $4,771                            continue for approximately:      -3 months   or until the attorney
                                                                                                                                  fee is paid.

     Personal Property Taxes                                                Codes:
     Alimony or Child Support Arrearage                                     Sch D # = The number of the secued debt as listed on Schedule D.
CO-SIGN PROTECT (Pay 100%)                    Int.%       Payoff Amt        Adequate Protection = Monthly 'Adequate Protection' payment amt.
 All Co-Sign Protect Debts (See*)                                           † = May include up to 3 post-petition payments.
GENERAL NON-PRIORITY UNSECURED                           Amount**           * Co-sign protect on all debts so designated on the filed schedules.

                   DMI=        None($0)                    None($0)         ** = Greater of DMI x ACP or EAE                            (Page 4 of 4)
                                                                              Ch13Plan_MD_(DeSardi Version 1/6/12) © LOJTO
 Other Miscellaneous Provisions
Plan to allow for 3 "waivers".
                                          Case 12-81181                   Doc 1          Filed 08/09/12            Page 27 of 65
 B6D (Official Form 6D) (12/07)


          }
          e
          b
          c
          k
          u
          1
          r
          {
          S
          d
          h
          C
          l
          a
          i
          m
          s
          D
          -
          t
          o
          H
          n
          g




  In re         Tonya Gail McCrae                                                                                          Case No.
                                                                                                              ,
                                                                                             Debtor

                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                        C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                            O                                                              O    N   I
                                                        D   H       DATE CLAIM WAS INCURRED,                           N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                              T    I   P       WITHOUT              UNSECURED
           INCLUDING ZIP CODE,                          B   W           NATURE OF LIEN, AND                            I    Q   U                            PORTION, IF
                                                        T   J         DESCRIPTION AND VALUE                            N    U   T
                                                                                                                                       DEDUCTING
          AND ACCOUNT NUMBER                            O                                                              G    I   E       VALUE OF                ANY
            (See instructions above.)
                                                            C                OF PROPERTY
                                                        R
                                                                          SUBJECT TO LIEN
                                                                                                                       E    D   D     COLLATERAL
                                                                                                                       N    A
                                                                                                                       T    T
Account No. 7432                                              02/2007 to 06/2012                                            E
                                                              1st Deed of Trust                                             D
Creditor #: 1
Bank of America Home Loans**                                  House and Land
Attn: Managing Agent                                          809 Beebe Drive
                                                              Durham, North Carolina 27713
Post Office Box 5170
                                                            - Valuation Method (Sch. A & B) : FMV
Simi Valley, CA 93062-5170                                    unless otherwise noted.
                                                                Value $                               177,204.00                        201,000.00                 23,796.00
Account No.

Trustee Services of Carolina, LLC                                Representing:
C/o Brock & Scott, PLLC                                          Bank of America Home Loans**                                          Notice Only
5431 Oleander Drive
Wilmington, NC 28403

                                                                Value $
Account No.                                                   Notice Purposes Only
                                                              Real Property Taxes - Included In
Creditor #: 2                                                 Escrow
Durham County Tax Collector                                   House and Land
P.O.Box 3397                                                  809 Beebe Drive
Durham, NC 27702                                              Durham, North Carolina 27713
                                                            - Valuation Method (Sch. A & B) : FMV
                                                              unless otherwise noted.
                                                                Value $                               177,204.00                                 0.00                      0.00
Account No. xxxxx5346                                         Unknown Date of Claim
Creditor #: 3                                                 Judgment Lien
LVNV Funding, LLC**                                           House and Land
Attn: Managing Agent                                          809 Beebe Drive
                                                              Durham, North Carolina 27713
P.O. Box 740281
                                                            - Valuation Method (Sch. A & B) : FMV
Houston, TX 77274                                             unless otherwise noted.
                                                                Value $                               177,204.00                           3,007.70                  3,007.70
                                                                                                                    Subtotal
 1
_____ continuation sheets attached                                                                                                      204,007.70                 26,803.70
                                                                                                           (Total of this page)




 Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com                                                                                    Best Case Bankruptcy
                                          Case 12-81181                   Doc 1          Filed 08/09/12           Page 28 of 65
 B6D (Official Form 6D) (12/07) - Cont.




  In re         Tonya Gail McCrae                                                                                         Case No.
                                                                                                             ,
                                                                                             Debtor


                                 SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                 (Continuation Sheet)

                                                        C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
            CREDITOR'S NAME                             O                                                             O    N   I
                                                        D   H             DATE CLAIM WAS INCURRED,                    N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                             T    I   P       WITHOUT        UNSECURED
                                                            W               NATURE OF LIEN, AND                                                       PORTION, IF
           INCLUDING ZIP CODE,                          B
                                                                           DESCRIPTION AND VALUE
                                                                                                                      I    Q   U
                                                                                                                                      DEDUCTING
                                                        T   J                                                         N    U   T                         ANY
          AND ACCOUNT NUMBER                            O   C                   OF PROPERTY                           G    I   E       VALUE OF
             (See instructions.)                        R
                                                                               SUBJECT TO LIEN                        E    D   D     COLLATERAL
                                                                                                                      N    A
                                                                                                                      T    T
Account No.                                                                                                                E
                                                                                                                           D

Smith Debnam Narron Drake                                        Representing:
Saintsing                                                        LVNV Funding, LLC**                                                  Notice Only
& Myers, L.L.P
P.O. Box 26268
Raleigh, NC 27611
                                                                Value $
Account No. xxxxxx9531                                        11/2008 to 07/2012
Creditor #: 4                                                 Purchase Money Security Interest
                                                              Automobile
Regional Acceptance Corp.**                                   2007 Chrysler 300
Bankruptcy Section/Attn: Managing                             VIN: 4T1BG22K0YU942550
Agent                                                         Insurance Policy: Nationwide -
                                                            - 6132C322-366
Post Office Box 1847
                                                              Mileage: 168,650
Wilson, NC 27894-1847
                                                                Value $                               14,310.00                         11,481.00                   0.00
Account No.




                                                                Value $
Account No.




                                                                Value $
Account No.




                                                                Value $
       1
Sheet _____    1
            of _____  continuation sheets attached to                                                              Subtotal
                                                                                                                                        11,481.00                   0.00
Schedule of Creditors Holding Secured Claims                                                              (Total of this page)
                                                                                                                     Total             215,488.70           26,803.70
                                                                                           (Report on Summary of Schedules)

 Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com                                                                             Best Case Bankruptcy
                                           Case 12-81181                    Doc 1          Filed 08/09/12                 Page 29 of 65
B6E (Official Form 6E) (4/10)


         }
         n
         b
         s
         k
         e
         1
         c
         {
         u
         S
         r
         h
         d
         P
         l
         i
         o
         E
         t
         -
         y
         C
         a
         m
         H
         g
         U




 In re         Tonya Gail McCrae                                                                                                  Case No.
                                                                                                                     ,
                                                                                               Debtor

                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            2         continuation sheets attached
Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com                                                                                       Best Case Bankruptcy
                                          Case 12-81181                   Doc 1          Filed 08/09/12        Page 30 of 65
 B6E (Official Form 6E) (4/10) - Cont.




  In re         Tonya Gail McCrae                                                                                       Case No.
                                                                                                           ,
                                                                                             Debtor

                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                 (Continuation Sheet)
                                                                                                                    Taxes and Certain Other Debts
                                                                                                                     Owed to Governmental Units
                                                                                                                                 TYPE OF PRIORITY
                                                        C   Husband, Wife, Joint, or Community                      C    U   D
            CREDITOR'S NAME,                            O                                                           O    N   I                      AMOUNT NOT
                                                        D                                                           N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                           E   H         DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                          B   W
                                                                    AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                    OF CLAIM
          AND ACCOUNT NUMBER                            T   J                                                       N    U   T                                AMOUNT
                                                        O                                                           G    I   E                             ENTITLED TO
             (See instructions.)                        R   C                                                       E    D   D
                                                                                                                    N    A
                                                                                                                                                              PRIORITY
                                                                                                                    T    T
Account No.                                                     Notice Purposes Only                                     E
                                                                                                                         D
Creditor #: 1
Durham County Tax Collector
P.O.Box 3397                                                                                                                                        0.00
Durham, NC 27702
                                                            -

                                                                                                                                            0.00                    0.00
Account No.

NC Department of Justice                                         Representing:
for NC Department of Revenue                                     Durham County Tax Collector                                         Notice Only
Post Office Box 629
Raleigh, NC 27602-0629


Account No.                                                     Notice Purposes Only
Creditor #: 2
Durham County Tax Collector
P.O.Box 3397                                                                                                                                        0.00
Durham, NC 27702
                                                            -

                                                                                                                                            0.00                    0.00
Account No. xxx-xx-2577                                         2007, 2010 & 2011
Creditor #: 3
Internal Revenue Service (MD)**                                 Federal Income Taxes
Post Office Box 7346                                            All Possible Obligations                                                            1,169.27
Philadelphia, PA 19101-7346
                                                            -

                                                                                                                                        4,946.27              3,777.00
Account No.

The Honorable Eric Holder                                        Representing:
U.S. Department of Justice                                       Internal Revenue Service (MD)**                                     Notice Only
950 Pennsylvania Ave. NW
Washington, DC 20530-0001



       1
Sheet _____    2
            of _____  continuation sheets attached to                                                            Subtotal                           1,169.27
Schedule of Creditors Holding Unsecured Priority Claims                                                 (Total of this page)            4,946.27              3,777.00




 Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com                                                                             Best Case Bankruptcy
                                          Case 12-81181                   Doc 1          Filed 08/09/12         Page 31 of 65
 B6E (Official Form 6E) (4/10) - Cont.




  In re         Tonya Gail McCrae                                                                                        Case No.
                                                                                                            ,
                                                                                             Debtor

                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                 (Continuation Sheet)
                                                                                                                     Taxes and Certain Other Debts
                                                                                                                      Owed to Governmental Units
                                                                                                                                  TYPE OF PRIORITY
                                                        C   Husband, Wife, Joint, or Community                       C    U   D
            CREDITOR'S NAME,                            O                                                            O    N   I                      AMOUNT NOT
                                                        D                                                            N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                           E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                          B   W
                                                                    AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                     OF CLAIM
          AND ACCOUNT NUMBER                            T   J                                                        N    U   T                                AMOUNT
                                                        O                                                            G    I   E                             ENTITLED TO
             (See instructions.)                        R   C                                                        E    D   D
                                                                                                                     N    A
                                                                                                                                                               PRIORITY
                                                                                                                     T    T
Account No.                                                                                                               E
                                                                                                                          D

US Attorney's Office (MD)**                                      Representing:
Middle District                                                  Internal Revenue Service (MD)**                                      Notice Only
Post Office Box 1858
Greensboro, NC 27502-1858


Account No. xxx-xx-2577                                         2009, 2010 & 2011
Creditor #: 4
North Carolina Dept. of Revenue**                               State Income Taxes
Post Office Box 1168                                            All Possible Obligations                                                             0.00
Raleigh, NC 27602-1168
                                                            -

                                                                                                                                         4,771.38               4,771.38
Account No.

NC Department of Justice                                         Representing:
for NC Department of Revenue                                     North Carolina Dept. of Revenue**                                    Notice Only
Post Office Box 629
Raleigh, NC 27602-0629


Account No.




Account No.




       2
Sheet _____    2
            of _____  continuation sheets attached to                                                             Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                  (Total of this page)            4,771.38               4,771.38
                                                                                                                     Total                           1,169.27
                                                                                           (Report on Summary of Schedules)              9,717.65            8,548.38

 Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com                                                                               Best Case Bankruptcy
                                          Case 12-81181                   Doc 1           Filed 08/09/12           Page 32 of 65
 B6F (Official Form 6F) (12/07)


          }
          n
          b
          s
          k
          e
          1
          c
          {
          u
          S
          r
          h
          d
          N
          o
          l
          p
          F
          i
          -
          C
          t
          y
          a
          m
          H
          g
          U




  In re         Tonya Gail McCrae                                                                                        Case No.
                                                                                                               ,
                                                                                             Debtor


               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U   D
                  CREDITOR'S NAME,                                   O                                                                      O   N   I
                  MAILING ADDRESS                                    D    H                                                                 N   L   S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I   P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U   T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I   E
                 (See instructions above.)                           R
                                                                          C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. xxxxxxxx2402                                                    10/2007 to 04/2011                                              T   T
                                                                                                                                                E
Creditor #: 1                                                               Credit Card Purchases                                               D

1st National Credit Card                                                    All Possible Obligations
500 East 60th Street North                                                - Disputed re: amt, int, fees, ownership, etc.
Sioux Falls, SD 57104                                                       NOT ADMITTED


                                                                                                                                                                         534.00
Account No. xxxxxxxx0979                                                    10/2007 to 08/2008
Creditor #: 2                                                               Credit Card Purchases
CortustCC                                                                   All Possible Obligations
PO Box 5431                                                               - Disputed re: amt, int, fees, ownership, etc.
Sioux Falls, SD 57117-5431                                                  NOT ADMITTED


                                                                                                                                                                      Unknown
Account No. Unknown Account Number                                          Unknown Date of Claim
Creditor #: 3                                                               Collection Account
Credit Financial Services**                                                 All Possible Obligations
Post Office Box 451                                                       - Disputed re: amt, int, fees, ownership, etc.
Durham, NC 27702-0451                                                       NOT ADMITTED


                                                                                                                                                                         270.00
Account No. xxxxxxxx1682                                                    11/2006 to 10/2007
Creditor #: 4                                                               Credit Card Purchases
Credit One Bank, N.A.**                                                     All Possible Obligations
Post Office Box 98873                                                     - Disputed re: amt, int, fees, ownership, etc.
Las Vegas, NV 89193-8873                                                    NOT ADMITTED


                                                                                                                                                                      Unknown

                                                                                                                                        Subtotal
 2
_____ continuation sheets attached                                                                                                                                       804.00
                                                                                                                              (Total of this page)




 Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com                                                                   S/N:25809-120712   Best Case Bankruptcy
                                          Case 12-81181                   Doc 1           Filed 08/09/12           Page 33 of 65
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Tonya Gail McCrae                                                                                      Case No.
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                          C   U   D
                  CREDITOR'S NAME,                                   O                                                                O   N   I
                  MAILING ADDRESS                                    D    H                                                           N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                     T   I   P
                                                                     B                                                                I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                 N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                 G   I   E
                 (See instructions above.)                           R                                                                E   D   D
                                                                                                                                      N   A
                                                                                                                                      T   T
Account No. Unknown Account Number                                          Unknown Date of Claim                                         E
Creditor #: 5                                                               Medical Bill                                                  D

CSDDUR                                                                      All Possible Obligations
Post Office Box 530                                                       - Disputed re: amt, int, fees, ownership, etc.
Durham, NC 27702-0530                                                       NOT ADMITTED


                                                                                                                                                                800.00
Account No. xxx6310                                                         06/2011
Creditor #: 6                                                               Medical Bill
Durham Emergency Physicians **                                              All Possible Obligations
P.O. Box 15133                                                            - Disputed re: amt, int, fees, ownership, etc.
Durham, NC 27704-0133                                                       NOT ADMITTED


                                                                                                                                                                279.40
Account No. xxxxxxxx6302                                                    04/2006 to 12/2010
Creditor #: 7                                                               Credit Card Purchases
First Premier Bank**                                                        All Possible Obligations
Post Office Box 5524                                                      - Disputed re: amt, int, fees, ownership, etc.
Sioux Falls, SD 57117-5524                                                  NOT ADMITTED


                                                                                                                                                                417.00
Account No. xxxxxxxx8729                                                    09/2007 to 07/2009
Creditor #: 8                                                               Credit Card Purchases
First Premier Bank**                                                        All Possible Obligations
Post Office Box 5524                                                      - Disputed re: amt, int, fees, ownership, etc.
Sioux Falls, SD 57117-5524                                                  NOT ADMITTED


                                                                                                                                                             Unknown
Account No. xxxx3368                                                        11/2005 to 11/2007
Creditor #: 9                                                               Credit Card Purchases
HSBC Bank                                                                   All Possible Obligations
Post Office Box 5253                                                      - Disputed re: amt, int, fees, ownership, etc.
Carol Stream, IL 60197-5253                                                 NOT ADMITTED


                                                                                                                                                             Unknown

           1
Sheet no. _____     2
                of _____ sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                              1,496.40
Creditors Holding Unsecured Nonpriority Claims                                                                            (Total of this page)




 Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com                                                                             Best Case Bankruptcy
                                          Case 12-81181                   Doc 1           Filed 08/09/12            Page 34 of 65
 B6F (Official Form 6F) (12/07) - Cont.




  In re         Tonya Gail McCrae                                                                                        Case No.
                                                                                                                ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                             C   U   D
                  CREDITOR'S NAME,                                   O                                                                   O   N   I
                  MAILING ADDRESS                                    D    H                                                              N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                     B                                                                   I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                 (See instructions above.)                           R                                                                   E   D   D
                                                                                                                                         N   A
                                                                                                                                         T   T
Account No. x-xxxxxx5061                                                    06/2011                                                          E
Creditor #: 10                                                              Medical Bill                                                     D

Private Diagnostic Clinic, PLLC                                             All Possible Obligations
5213 South Alston Avenue                                                  - Disputed re: amt, int, fees, ownership, etc.
Durham, NC 27713                                                            NOT ADMITTED


                                                                                                                                                                   101.01
Account No. Unknown Account Numbers                                         Unknown Dates of Claims
Creditor #: 11                                                              Medical Bills
Revenue Cycle Solutions                                                     Collection Accounts
Post Office Box 1022                                                      - All Possible Obligations
Wixom, MI 48393-1022                                                        Disputed re: amt, int, fees, ownership, etc.
                                                                            NOT ADMITTED
                                                                                                                                                                 1,575.00
Account No. xxxxx5589                                                       11/2006 to 01/2008
Creditor #: 12                                                              Collection Account
Wells Fargo                                                                 All Possible Obligations
Central Bankruptcy Department                                             - Disputed re: amt, int, fees, ownership, etc.
PO Box 13765                                                                NOT ADMITTED
Roanoke, VA 24037
                                                                                                                                                                Unknown
Account No. xxxxxxxx1652                                                    08/2011 to 07/2012
Creditor #: 13                                                              Charge Account Purchases
WFNNB/LNBR                                                                  All Possible Obligations
Post Office Box 182125                                                    - Disputed re: amt, int, fees, ownership, etc.
Columbus, OH 43218-2125                                                     NOT ADMITTED


                                                                                                                                                                   102.00
Account No.




           2
Sheet no. _____     2
                of _____ sheets attached to Schedule of                                                                                Subtotal
                                                                                                                                                                 1,778.01
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)                  4,078.41


 Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com                                                                                Best Case Bankruptcy
                                         Case 12-81181                   Doc 1   Filed 08/09/12          Page 35 of 65
B6G (Official Form 6G) (12/07)


          a
          }
          n
          b
          d
          k
          1
          U
          {
          S
          e
          c
          x
          h
          p
          i
          r
          u
          l
          L
          G
          -
          s
          E
          t
          o
          y
          C




 In re             Tonya Gail McCrae                                                                           Case No.
                                                                                                     ,
                                                                                   Debtor

                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                 State contract number of any government contract.

                    AT&T*                                                               2-Year Wireless Telephone Contract
                    PO BOX 105503
                    Atlanta, GA 30348-5503                                              Debtor wishes to assume contract.




      0
                continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com                                                                         Best Case Bankruptcy
                                         Case 12-81181                   Doc 1   Filed 08/09/12   Page 36 of 65
B6H (Official Form 6H) (12/07)


          }
          b
          k
          1
          {
          S
          c
          h
          e
          d
          u
          l
          H
          -
          C
          o
          t
          r
          s




 In re          Tonya Gail McCrae                                                                       Case No.
                                                                                              ,
                                                                                  Debtor

                                                              SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
    state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
        Check this box if debtor has no codebtors.
                 NAME AND ADDRESS OF CODEBTOR                                         NAME AND ADDRESS OF CREDITOR




      0
              continuation sheets attached to Schedule of Codebtors
Software Copyright (c) 1996-2012 - CCH INCORPORATED - www.bestcase.com                                                                 Best Case Bankruptcy
                                 Case 12-81181             Doc 1       Filed 08/09/12           Page 37 of 65


B6I (Official Form 6I) (12/07)
 In re    Tonya Gail McCrae                                                                             Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Divorced                               None.

Employment:*                                          DEBTOR                                                       SPOUSE
Occupation                          Substitute Teacher
Name of Employer                    Durham Public Schools
How long employed                   4 Years
Address of Employer                 Administrative Unit
                                    P.O. Box 30002
                                    Durham, NC 27702
*See Attachment for Additional Employment Information
INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                   SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $       2,673.26         $          N/A
2. Estimate monthly overtime                                                                             $           0.00         $          N/A

3. SUBTOTAL                                                                                              $         2,673.26       $                 N/A


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             769.15     $                 N/A
     b. Insurance                                                                                        $               0.00     $                 N/A
     c. Union dues                                                                                       $               0.00     $                 N/A
     d. Other (Specify):                                                                                 $               0.00     $                 N/A
                                                                                                         $               0.00     $                 N/A

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             769.15     $                 N/A

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         1,904.11       $                 N/A

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $               0.00     $                 N/A
8. Income from real property                                                                             $               0.00     $                 N/A
9. Interest and dividends                                                                                $               0.00     $                 N/A
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $               0.00     $                 N/A
11. Social security or government assistance
(Specify):                                                                                               $             0.00       $                 N/A
                                                                                                         $             0.00       $                 N/A
12. Pension or retirement income                                                                         $         2,109.45       $                 N/A
13. Other monthly income
(Specify):                                                                                               $               0.00     $                 N/A
                                                                                                         $               0.00     $                 N/A

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $         2,109.45       $                 N/A

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         4,013.56       $                 N/A

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            4,013.56
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
                                 Case 12-81181             Doc 1       Filed 08/09/12           Page 38 of 65


B6I (Official Form 6I) (12/07)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
         None Anticipated

          Note: Gross pension amount is $2,643.53. Deductions are as follows:
          Taxes: $237.18
          Health Insurance: $198.06
          Dental insurance: 83.66.
          Vision insurance: $15.18.
                                   Case 12-81181    Doc 1   Filed 08/09/12   Page 39 of 65


B6I (Official Form 6I) (12/07)

 In re    Tonya Gail McCrae                                                        Case No.
                                                             Debtor(s)

                          SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                               Attachment for Additional Employment Information

Debtor
Occupation                       Sales Associate
Name of Employer                 Macy's
How long employed                1 Year
Address of Employer              Southpoint Mall
                                 Durham, NC 27713
                                 Case 12-81181     Doc 1       Filed 08/09/12        Page 40 of 65


B6J (Official Form 6J) (12/07)
 In re    Tonya Gail McCrae                                                                   Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                     0.00
 a. Are real estate taxes included?                            Yes X              No
 b. Is property insurance included?                            Yes X              No
2. Utilities:      a. Electricity and heating fuel                                                          $                   225.00
                   b. Water and sewer                                                                       $                     0.00
                   c. Telephone                                                                             $                     0.00
                   d. Other See Detailed Expense Attachment                                                 $                   292.00
3. Home maintenance (repairs and upkeep)                                                                    $                    30.00
4. Food                                                                                                     $                   250.00
5. Clothing                                                                                                 $                    25.00
6. Laundry and dry cleaning                                                                                 $                     0.00
7. Medical and dental expenses                                                                              $                   300.00
8. Transportation (not including car payments)                                                              $                   200.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                    50.00
10. Charitable contributions                                                                                $                    12.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                    21.00
                   c. Health                                                                                $                     0.00
                   d. Auto                                                                                  $                   233.00
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify) Personal Property Taxes                                                          $                    20.33
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                     0.00
                   b. Other                                                                                 $                     0.00
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other See Detailed Expense Attachment                                                                   $                 2,572.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 4,230.33
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:
      None Anticipated
20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 4,013.56
b. Average monthly expenses from Line 18 above                                                              $                 4,230.33
c. Monthly net income (a. minus b.)                                                                         $                  -216.77
                                 Case 12-81181    Doc 1    Filed 08/09/12      Page 41 of 65


B6J (Official Form 6J) (12/07)
 In re    Tonya Gail McCrae                                                           Case No.
                                                              Debtor(s)

                  SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                 Detailed Expense Attachment
Other Utility Expenditures:
Cell Phone                                                                                       $    156.00
Cable                                                                                            $    136.00
Total Other Utility Expenditures                                                                 $    292.00




Other Expenditures:
Chapter 13 Plan Payment                                                                          $   2,500.00
Personal Care Expenses                                                                           $      32.00
Emergency Expenses                                                                               $      20.00
Miscellaneous Expenses                                                                           $      20.00
Total Other Expenditures                                                                         $   2,572.00
                                     Case 12-81181                     Doc 1     Filed 08/09/12           Page 42 of 65
B22C (Official Form 22C) (Chapter 13) (12/10)
In re  Tonya Gail McCrae                                                According to the calculations required by this statement:
              Debtor(s)                                                   The applicable commitment period is 3 years.
Case Number:                                                              The applicable commitment period is 5 years.
                     (If known)
                                                                          Disposable income is determined under § 1325(b)(3).
                                                                          Disposable income is not determined under § 1325(b)(3).
                                                                        (Check the boxes as directed in Lines 17 and 23 of this statement.)


                     CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
               AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
In addition to Schedules I and J, this statement must be completed by every individual chapter 13 debtor, whether or not filing jointly. Joint debtors
may complete one statement only.
                                                                   Part I. REPORT OF INCOME
            Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
     1      a.    Unmarried. Complete only Column A ("Debtor's Income") for Lines 2-10.
            b. Married. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 2-10.
            All figures must reflect average monthly income received from all sources, derived during the six Column A                            Column B
            calendar months prior to filing the bankruptcy case, ending on the last day of the month before
            the filing. If the amount of monthly income varied during the six months, you must divide the      Debtor's                            Spouse's
            six-month total by six, and enter the result on the appropriate line.                              Income                              Income

     2      Gross wages, salary, tips, bonuses, overtime, commissions.                                                  $           3,345.69 $
            Income from the operation of a business, profession, or farm. Subtract Line b from Line a and
            enter the difference in the appropriate column(s) of Line 3. If you operate more than one business,
            profession or farm, enter aggregate numbers and provide details on an attachment. Do not enter a
            number less than zero. Do not include any part of the business expenses entered on Line b as
     3      a deduction in Part IV.
                                                                        Debtor                 Spouse
             a.     Gross receipts                               $               0.00 $
             b.     Ordinary and necessary business expenses $                   0.00 $
             c.     Business income                              Subtract Line b from Line a                    $                      0.00 $
            Rents and other real property income. Subtract Line b from Line a and enter the difference in
            the appropriate column(s) of Line 4. Do not enter a number less than zero. Do not include any
            part of the operating expenses entered on Line b as a deduction in Part IV.
     4                                                                Debtor                Spouse
             a.    Gross receipts                               $              0.00 $
             b.    Ordinary and necessary operating expenses $                 0.00 $
             c.    Rent and other real property income          Subtract Line b from Line a                             $              0.00 $
     5      Interest, dividends, and royalties.                                                                         $              0.00 $
     6      Pension and retirement income.                                                                              $           2,643.53 $
            Any amounts paid by another person or entity, on a regular basis, for the household
            expenses of the debtor or the debtor's dependents, including child support paid for that
     7      purpose. Do not include alimony or separate maintenance payments or amounts paid by the
            debtor's spouse. Each regular payment should be reported in only one column; if a payment is
            listed in Column A, do not report that payment in Column B.                                                 $              0.00 $
            Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
            However, if you contend that unemployment compensation received by you or your spouse was a
            benefit under the Social Security Act, do not list the amount of such compensation in Column A
     8      or B, but instead state the amount in the space below:
             Unemployment compensation claimed to
             be a benefit under the Social Security Act Debtor $                     0.00 Spouse $                      $              0.00 $




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                             Best Case Bankruptcy
                                     Case 12-81181                     Doc 1   Filed 08/09/12           Page 43 of 65
B22C (Official Form 22C) (Chapter 13) (12/10)                                                                                                           2

            Income from all other sources. Specify source and amount. If necessary, list additional sources
            on a separate page. Total and enter on Line 9. Do not include alimony or separate
            maintenance payments paid by your spouse, but include all other payments of alimony or
            separate maintenance. Do not include any benefits received under the Social Security Act or
     9      payments received as a victim of a war crime, crime against humanity, or as a victim of
            international or domestic terrorism.
                                                                    Debtor                    Spouse
             a. See Lanning attachment**                    $                0.00 $
             b.                                             $                        $                      $                  0.00 $
    10      Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2 through 9
            in Column B. Enter the total(s).                                                               $               5,989.22 $
    11      Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B, and enter
            the total. If Column B has not been completed, enter the amount from Line 10, Column A.        $                                  5,989.22

                                 Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
    12      Enter the amount from Line 11                                                                                           $          5,989.22
            Marital Adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that
            calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of your spouse,
            enter on Line 13 the amount of the income listed in Line 10, Column B that was NOT paid on a regular basis for
            the household expenses of you or your dependents and specify, in the lines below, the basis for excluding this
            income (such as payment of the spouse's tax liability or the spouse's support of persons other than the debtor or the
    13      debtor's dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments
            on a separate page. If the conditions for entering this adjustment do not apply, enter zero.
             a.                                                                     $
             b.                                                                     $
             c.                                                                     $
            Total and enter on Line 13                                                                                              $                0.00
    14      Subtract Line 13 from Line 12 and enter the result.                                                                     $          5,989.22

    15      Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number 12 and
            enter the result.                                                                                                       $        71,870.64
            Applicable median family income. Enter the median family income for applicable state and household size. (This
    16      information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)

             a. Enter debtor's state of residence:                NC           b. Enter debtor's household size:       1            $        39,088.00
            Application of § 1325(b)(4). Check the applicable box and proceed as directed.
                  The amount on Line 15 is less than the amount on Line 16. Check the box for "The applicable commitment period is 3 years" at the
    17            top of page 1 of this statement and continue with this statement.
                  The amount on Line 15 is not less than the amount on Line 16. Check the box for "The applicable commitment period is 5 years"
                  at the top of page 1 of this statement and continue with this statement.
                              Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
    18      Enter the amount from Line 11.                                                                                          $          5,989.22
            Marital Adjustment. If you are married, but are not filing jointly with your spouse, enter on Line 19 the total of
            any income listed in Line 10, Column B that was NOT paid on a regular basis for the household expenses of the
            debtor or the debtor's dependents. Specify in the lines below the basis for excluding the Column B income(such as
            payment of the spouse's tax liability or the spouse's support of persons other than the debtor or the debtor's
            dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments on a
    19      separate page. If the conditions for entering this adjustment do not apply, enter zero.
             a.                                                                     $
             b.                                                                     $
             c.                                                                     $
            Total and enter on Line 19.                                                                                             $                0.00
    20      Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.                            $          5,989.22




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                    Best Case Bankruptcy
                                     Case 12-81181                     Doc 1     Filed 08/09/12         Page 44 of 65
B22C (Official Form 22C) (Chapter 13) (12/10)                                                                                                            3

    21      Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number 12 and
            enter the result.                                                                                                        $        71,870.64
    22      Applicable median family income. Enter the amount from Line 16.                                                          $        39,088.00
            Application of § 1325(b)(3). Check the applicable box and proceed as directed.
                  The amount on Line 21 is more than the amount on Line 22. Check the box for "Disposable income is determined under §
    23            1325(b)(3)" at the top of page 1 of this statement and complete the remaining parts of this statement.
                  The amount on Line 21 is not more than the amount on Line 22. Check the box for "Disposable income is not determined under §
                  1325(b)(3)" at the top of page 1 of this statement and complete Part VII of this statement. Do not complete Parts IV, V, or VI.

                                 Part IV. CALCULATION OF DEDUCTIONS FROM INCOME
                                 Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
            National Standards: food, apparel and services, housekeeping supplies, personal care, and miscellaneous.
            Enter in Line 24A the "Total" amount from IRS National Standards for Allowable Living Expenses for the
   24A      applicable number of persons. (This information is available at www.usdoj.gov/ust/ or from the clerk of the
            bankruptcy court.) The applicable number of persons is the number that would currently be allowed as exemptions
            on your federal income tax return, plus the number of any additional dependents whom you support.                        $            565.00
            National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
            Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
            Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
            www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of persons
            who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65 years of age or
            older. (The applicable number of persons in each age category is the number in that category that would currently
            be allowed as exemptions on your federal income tax return, plus the number of any additional dependents whom
            you support.) Multiply Line a1 by Line b1 to obtain a total amount for persons under 65, and enter the result in
   24B      Line c1. Multiply Line a2 by Line b2 to obtain a total amount for persons 65 and older, and enter the result in Line
            c2. Add Lines c1 and c2 to obtain a total health care amount, and enter the result in Line 24B.
             Persons under 65 years of age                                     Persons 65 years of age or older
             a1.      Allowance per person                                60 a2.    Allowance per person                      144
             b1.      Number of persons                                     1 b2.   Number of persons                            0
             c1.      Subtotal                                          60.00 c2.   Subtotal                                 0.00 $                 60.00
            Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
            Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is
   25A      available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable family size consists of
            the number that would currently be allowed as exemptions on your federal income tax return, plus the number of
            any additional dependents whom you support.                                                                              $            389.00
            Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the IRS
            Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information is
            available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable family size consists of
            the number that would currently be allowed as exemptions on your federal income tax return, plus the number of
            any additional dependents whom you support); enter on Line b the total of the Average Monthly Payments for any
   25B      debts secured by your home, as stated in Line 47; subtract Line b from Line a and enter the result in Line 25B. Do
            not enter an amount less than zero.
             a.      IRS Housing and Utilities Standards; mortgage/rent expense            $                              1,014.00
             b.      Average Monthly Payment for any debts secured by your
                     home, if any, as stated in Line 47                                    $                              1,586.00
             c.      Net mortgage/rental expense                                           Subtract Line b from Line a.              $                0.00
            Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A and
            25B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities
    26      Standards, enter any additional amount to which you contend you are entitled, and state the basis for your
            contention in the space below:
                                                                                                                                     $                0.00




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                     Best Case Bankruptcy
                                     Case 12-81181                     Doc 1   Filed 08/09/12      Page 45 of 65
B22C (Official Form 22C) (Chapter 13) (12/10)                                                                                                           4

            Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to an
            expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and
            regardless of whether you use public transportation.
            Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are
   27A      included as a contribution to your household expenses in Line 7. 0        1      2 or more.
            If you checked 0, enter on Line 27A the "Public Transportation" amount from IRS Local Standards:
            Transportation. If you checked 1 or 2 or more, enter on Line 27A the "Operating Costs" amount from IRS Local
            Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan Statistical Area or
            Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)           $            488.00
            Local Standards: transportation; additional public transportation expense. If you pay the operating expenses
            for a vehicle and also use public transportation, and you contend that you are entitled to an additional deduction for
   27B      your public transportation expenses, enter on Line 27B the "Public Transportation" amount from the IRS Local
            Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
            court.)                                                                                                                $                 0.00
            Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for which
            you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than two
            vehicles.)   1     2 or more.
            Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
            (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
    28      Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from Line a and enter
            the result in Line 28. Do not enter an amount less than zero.
             a.     IRS Transportation Standards, Ownership Costs                    $                                  517.00
                    Average Monthly Payment for any debts secured by Vehicle
             b.     1, as stated in Line 47                                          $                                  192.76
             c.     Net ownership/lease expense for Vehicle 1                        Subtract Line b from Line a.                   $            324.24
            Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you checked
            the "2 or more" Box in Line 28.
            Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
            (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average
    29      Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b from Line a and enter
            the result in Line 29. Do not enter an amount less than zero.
             a.     IRS Transportation Standards, Ownership Costs                    $                                     0.00
                    Average Monthly Payment for any debts secured by Vehicle
             b.     2, as stated in Line 47                                          $                                     0.00
             c.     Net ownership/lease expense for Vehicle 2                        Subtract Line b from Line a.                   $                0.00
            Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all federal,
    30      state, and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes, social
            security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                          $          1,006.33
            Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
    31      deductions that are required for your employment, such as mandatory retirement contributions, union dues, and
            uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.                            $                0.00
            Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for term
    32      life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or for
            any other form of insurance.                                                                                            $                0.00
            Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required to
    33      pay pursuant to the order of a court or administrative agency, such as spousal or child support payments. Do not
            include payments on past due obligations included in line 49.                                                           $                0.00
            Other Necessary Expenses: education for employment or for a physically or mentally challenged child. Enter
    34      the total average monthly amount that you actually expend for education that is a condition of employment and for
            education that is required for a physically or mentally challenged dependent child for whom no public education
            providing similar services is available.                                                                          $                      0.00

    35      Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
            childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.           $                0.00




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                    Best Case Bankruptcy
                                     Case 12-81181                     Doc 1       Filed 08/09/12   Page 46 of 65
B22C (Official Form 22C) (Chapter 13) (12/10)                                                                                                             5

            Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend on
    36      health care that is required for the health and welfare of yourself or your dependents, that is not reimbursed by
            insurance or paid by a health savings account, and that is in excess of the amount entered in Line 24B. Do not
            include payments for health insurance or health savings accounts listed in Line 39.                                       $            240.00
            Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
    37      actually pay for telecommunication services other than your basic home telephone and cell phone service - such as
            pagers, call waiting, caller id, special long distance, or internet service-to the extent necessary for your health and
            welfare or that of your dependents. Do not include any amount previously deducted.                                        $              60.00
    38      Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                                       $          3,132.57

                                           Subpart B: Additional Living Expense Deductions
                                  Note: Do not include any expenses that you have listed in Lines 24-37
            Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly expenses in
            the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or your
            dependents.
    39       a.        Health Insurance                                        $                      296.90
             b.        Disability Insurance                                    $                         0.00
             c.        Health Savings Account                                  $                         0.00
            Total and enter on Line 39                                                                                                $            296.90

            If you do not actually expend this total amount, state your actual total average monthly expenditures in the space
            below:
            $
            Continued contributions to the care of household or family members. Enter the total average actual monthly
    40      expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically
            ill, or disabled member of your household or member of your immediate family who is unable to pay for such
            expenses. Do not include payments listed in Line 34.                                                                      $                0.00
            Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
    41      actually incur to maintain the safety of your family under the Family Violence Prevention and Services Act or other
            applicable federal law. The nature of these expenses is required to be kept confidential by the court.              $                      0.00
            Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS Local
    42      Standards for Housing and Utilities that you actually expend for home energy costs. You must provide your case
            trustee with documentation of your actual expenses, and you must demonstrate that the additional amount
            claimed is reasonable and necessary.                                                                                      $                0.00
            Education expenses for dependent children under 18. Enter the total average monthly expenses that you
            actually incur, not to exceed $147.92 per child, for attendance at a private or public elementary or secondary
    43      school by your dependent children less than 18 years of age. You must provide your case trustee with
            documentation of your actual expenses, and you must explain why the amount claimed is reasonable and
            necessary and not already accounted for in the IRS Standards.                                                             $                0.00
            Additional food and clothing expense. Enter the total average monthly amount by which your food and clothing
            expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS National
    44      Standards, not to exceed 5% of those combined allowances. (This information is available at www.usdoj.gov/ust/
            or from the clerk of the bankruptcy court.) You must demonstrate that the additional amount claimed is
            reasonable and necessary.                                                                                                 $                0.00
            Charitable contributions. Enter the amount reasonably necessary for you to expend each month on charitable
    45      contributions in the form of cash or financial instruments to a charitable organization as defined in 26 U.S.C. §
            170(c)(1)-(2). Do not include any amount in excess of 15% of your gross monthly income.                                   $              12.50
    46      Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.                               $            309.40




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                      Best Case Bankruptcy
                                     Case 12-81181                     Doc 1   Filed 08/09/12       Page 47 of 65
B22C (Official Form 22C) (Chapter 13) (12/10)                                                                                                           6


                                                       Subpart C: Deductions for Debt Payment
            Future payments on secured claims. For each of your debts that is secured by an interest in property that you
            own, list the name of creditor, identify the property securing the debt, state the Average Monthly Payment, and
    47      check whether the payment includes taxes or insurance. The Average Monthly Payment is the total of all amounts
            scheduled as contractually due to each Secured Creditor in the 60 months following the filing of the bankruptcy
            case, divided by 60. If necessary, list additional entries on a separate page. Enter the total of the Average Monthly
            Payments on Line 47.
                   Name of Creditor                Property Securing the Debt                    Average          Does payment
                                                                                                 Monthly          include taxes
                                                                                                 Payment          or insurance
                                                   House and Land
                                                   809 Beebe Drive
                                                   Durham, North Carolina 27713

                  Bank of America Home                 Valuation Method (Sch. A & B) :
               a. Loans**                              FMV unless otherwise noted.     $            1,586.00      yes     no
                                                       Automobile
                                                       2007 Chrysler 300
                                                       VIN: 4T1BG22K0YU942550
                                                       Insurance Policy: Nationwide -
                  Regional Acceptance                  6132C322-366
               b. Corp.**                              Mileage: 168,650                $             192.76       yes     no
                                                                                            Total: Add Lines                        $          1,778.76
            Other payments on secured claims. If any of debts listed in Line 47 are secured by your primary residence, a
            motor vehicle, or other property necessary for your support or the support of your dependents, you may include in
    48      your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor in addition to the
            payments listed in Line 47, in order to maintain possession of the property. The cure amount would include any
            sums in default that must be paid in order to avoid repossession or foreclosure. List and total any such amounts in
            the following chart. If necessary, list additional entries on a separate page.
                   Name of Creditor                   Property Securing the Debt                    1/60th of the Cure Amount
                                                      House and Land
                                                      809 Beebe Drive
                                                      Durham, North Carolina 27713

                  Bank of America Home                    Valuation Method (Sch. A & B) :
               a. Loans**                                 FMV unless otherwise noted.           $                         411.92
                                                          Automobile
                                                          2007 Chrysler 300
                                                          VIN: 4T1BG22K0YU942550
                                                          Insurance Policy: Nationwide -
                  Regional Acceptance                     6132C322-366
               b. Corp.**                                 Mileage: 168,650                      $                        25.14
                                                                                                               Total: Add Lines     $            437.06
            Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such as
    49      priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy filing. Do
            not include current obligations, such as those set out in Line 33.                                                      $            142.47
            Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and enter the
            resulting administrative expense.

             a.       Projected average monthly Chapter 13 plan payment.                    $                           2,500.00
    50       b.       Current multiplier for your district as determined under schedules
                      issued by the Executive Office for United States Trustees. (This
                      information is available at www.usdoj.gov/ust/ or from the clerk of
                      the bankruptcy court.)                                                x                             6.00
             c.       Average monthly administrative expense of chapter 13 case             Total: Multiply Lines a and b           $            150.00
    51      Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.                                              $          2,508.29

                                                      Subpart D: Total Deductions from Income
    52      Total of all deductions from income. Enter the total of Lines 38, 46, and 51.                                           $          5,950.26


Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                    Best Case Bankruptcy
                                     Case 12-81181                     Doc 1    Filed 08/09/12             Page 48 of 65
B22C (Official Form 22C) (Chapter 13) (12/10)                                                                                                            7

                          Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)
    53      Total current monthly income. Enter the amount from Line 20.                                                            $          5,989.22
            Support income. Enter the monthly average of any child support payments, foster care payments, or disability
    54      payments for a dependent child, reported in Part I, that you received in accordance with applicable nonbankruptcy
            law, to the extent reasonably necessary to be expended for such child.                                                  $                0.00
            Qualified retirement deductions. Enter the monthly total of (a) all amounts withheld by your employer from
    55      wages as contributions for qualified retirement plans, as specified in § 541(b)(7) and (b) all required repayments of
            loans from retirement plans, as specified in § 362(b)(19).                                                            $                  0.00
    56      Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.                                       $          5,950.26
            Deduction for special circumstances. If there are special circumstances that justify additional expenses for which
            there is no reasonable alternative, describe the special circumstances and the resulting expenses in lines a-c below.
            If necessary, list additional entries on a separate page. Total the expenses and enter the total in Line 57. You must
            provide your case trustee with documentation of these expenses and you must provide a detailed explanation
            of the special circumstances that make such expense necessary and reasonable.
    57              Nature of special circumstances                                                Amount of Expense
             a.                                                                                    $
             b.                                                                                    $
             c.                                                                                    $
                                                                                                   Total: Add Lines                 $                0.00

    58      Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, 56, and 57 and enter the
            result.                                                                                                                 $          5,950.26
    59      Monthly Disposable Income Under § 1325(b)(2). Subtract Line 58 from Line 53 and enter the result.                       $              38.96

                                                    Part VI. ADDITIONAL EXPENSE CLAIMS
            Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare
            of you and your family and that you contend should be an additional deduction from your current monthly income under §
            707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for
            each item. Total the expenses.

    60              Expense Description                                                                            Monthly Amount
             a.                                                                                        $
             b.                                                                                        $
             c.                                                                                        $
             d.                                                                                        $
                                                                  Total: Add Lines a, b, c and d       $




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                    Best Case Bankruptcy
                                     Case 12-81181                     Doc 1   Filed 08/09/12        Page 49 of 65
B22C (Official Form 22C) (Chapter 13) (12/10)                                                                                                                8



                                                                       Part VII. VERIFICATION
            I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
            must sign.)
    61                    Date: August 9, 2012                                          Signature: /s/ Tonya Gail McCrae
                                                                                                     Tonya Gail McCrae
                                                                                                                (Debtor)




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                       Best Case Bankruptcy
                               Case 12-81181   Doc 1    Filed 08/09/12   Page 50 of 65


 In re     Tonya Gail McCrae                                                 Case No.
                                                          Debtor(s)



         STATEMENT OF CURRENT MONTHLY INCOME AND MEANS TEST CALCULATION
                                                  Attachment A


                                  Lanning Adjustments for
                          Projected Disposable Income Calculation
CMI Income
(Before Marital Adjustment)                       $5,989.22
 (Form 22C, line 18)

Total of all Deductions under
11 U.S.C. § 707(b)(2):                           ($5,950.26)


Child Support received
(Sch. I, line 10)
(NOT including child support received by
non-filing spouse)
Qualified retirement deductions:                        $0.00

Equals Means Test                                      $38.96
Derived Disposable Income:
Lanning Adjustments:
The Debtor received a total of $9572.61 in
the month of April for accrued back pay.
Her salary since been adjusted, and her           ($791.51)
prospective income will be $2,152.63.
Accordingly, prospective income from
Durham Public Schools will be $796.51 less
than actual CMI.

The Debtor was unable to work her part
time job at Macy's during the month of              $125.08
July, but will return to work in August.
The Debtor's prospective income from this
job is $125.08 greater than CMI.
Projected Disposable Monthly Income:              ($627.47)
(rev. 11/29/10)
                                     Case 12-81181                     Doc 1   Filed 08/09/12           Page 51 of 65

B7 (Official Form 7) (04/10)



                                                          United States Bankruptcy Court
                                                Middle District of North Carolina (NC Exemptions)
 In re       Tonya Gail McCrae                                                                                 Case No.
                                                                                Debtor(s)                      Chapter        13

                                                   STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                               DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE
                          $24,555.60                        2012 YTD: Employment/Wages
                          $30,998.00                        2011: Employment/Wages
                          $27,309.00                        2010: Employment/Wages

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE
                          $15,861.18                        2012 YTD: Retirement Income

Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                           Best Case Bankruptcy
                                     Case 12-81181                     Doc 1   Filed 08/09/12       Page 52 of 65


                                                                                                                                                            2

                        AMOUNT                              SOURCE
                        $31,772.36                          2011: Retirement Income
                        $31,772.36                          2010: Retirement Income

             3. Payments to creditors

   None      Complete a. or b., as appropriate, and c.

             a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
             and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
             of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
             creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
             nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
             either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS                                                         DATES OF                                                     AMOUNT STILL
   OF CREDITOR                                                           PAYMENTS                           AMOUNT PAID                 OWING

   None      b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
             immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
             transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
             account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
             budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
             transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                                                                                 AMOUNT
                                                                         DATES OF                                 PAID OR
                                                                         PAYMENTS/                              VALUE OF              AMOUNT STILL
NAME AND ADDRESS OF CREDITOR                                             TRANSFERS                             TRANSFERS                OWING

   None      c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
             creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR AND                                                                                                      AMOUNT STILL
     RELATIONSHIP TO DEBTOR                                              DATE OF PAYMENT                    AMOUNT PAID                 OWING

             4. Suits and administrative proceedings, executions, garnishments and attachments

   None      a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
             this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
             whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                                                        NATURE OF        COURT OR AGENCY                                 STATUS OR
AND CASE NUMBER                                                        PROCEEDING       AND LOCATION                                    DISPOSITION
Trustee Services of Carolina, LLC, Substitute                          Foreclosure Sale State of North Carolina                         Foreclosure
Trustee                                                                                 County of Durham                                Sale
vs.                                                                                                                                     Scheduled:
Tonya McCarae a/k/a Tonya McCrae McKnight                                                                                               September 6,
a/k/a Tonya G McCrae                                                                                                                    2012
Any Spouse of Tonya McCrae a/k/a Tonya
McCrae McKnight a/k/a Tonya G McCrae
Case No: 12SP

   None      b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)



* Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                      Best Case Bankruptcy
                                     Case 12-81181                     Doc 1   Filed 08/09/12      Page 53 of 65


                                                                                                                                                           3


NAME AND ADDRESS OF PERSON FOR WHOSE                                                       DESCRIPTION AND VALUE OF
      BENEFIT PROPERTY WAS SEIZED                                      DATE OF SEIZURE             PROPERTY
Internal Revenue Service (MD)**                                        2011 to 2012        Debtor's wages are garnished 10% per pay period.
Post Office Box 7346
Philadelphia, PA 19101-7346

             5. Repossessions, foreclosures and returns

   None      List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
             returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
             or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

                                                                 DATE OF REPOSSESSION,
NAME AND ADDRESS OF                                                FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
 CREDITOR OR SELLER                                               TRANSFER OR RETURN                  PROPERTY

             6. Assignments and receiverships

   None      a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
             this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
             joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                               DATE OF
NAME AND ADDRESS OF ASSIGNEE                                   ASSIGNMENT                     TERMS OF ASSIGNMENT OR SETTLEMENT

   None      b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                          NAME AND LOCATION
NAME AND ADDRESS                                               OF COURT                        DATE OF            DESCRIPTION AND VALUE OF
  OF CUSTODIAN                                            CASE TITLE & NUMBER                  ORDER                    PROPERTY

             7. Gifts

   None      List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
             and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
             aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
             either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

  NAME AND ADDRESS OF                                     RELATIONSHIP TO                                            DESCRIPTION AND
PERSON OR ORGANIZATION                                     DEBTOR, IF ANY                    DATE OF GIFT             VALUE OF GIFT

             8. Losses

   None      List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
             since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                          DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE                                                     LOSS WAS COVERED IN WHOLE OR IN PART
    OF PROPERTY                                                              BY INSURANCE, GIVE PARTICULARS                    DATE OF LOSS




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                     Best Case Bankruptcy
                                     Case 12-81181                     Doc 1   Filed 08/09/12        Page 54 of 65


                                                                                                                                                              4

             9. Payments related to debt counseling or bankruptcy

   None      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
             concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
             preceding the commencement of this case.

                                                                           DATE OF PAYMENT,                               AMOUNT OF MONEY
NAME AND ADDRESS                                                        NAME OF PAYOR IF OTHER                        OR DESCRIPTION AND VALUE
    OF PAYEE                                                                  THAN DEBTOR                                     OF PROPERTY
Law Offices of John T. Orcutt                                           07/10/2012                                   $3,500.00 - Attorney Fee
6616-203 Six Forks Road                                                 07/25/2012                                   $281.00 - Filing Fee
Raleigh, NC 27615                                                                                                    $10.00 - Credit Report Fee
                                                                                                                     $10.00 - Judgment Search Fee
                                                                                                                     $10.00 - Pacer Search Fee
Hummingbird Credit Counseling                                           07/25/2012                                   $34.00 - On-Line Credit
3737 Glenwood Avenue                                                                                                 Counseling Course
Suite 100
Raleigh, NC 27612

             10. Other transfers

   None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
             transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
             filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE,                                                                DESCRIBE PROPERTY TRANSFERRED
    RELATIONSHIP TO DEBTOR                                             DATE                           AND VALUE RECEIVED

   None      b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
             trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                                                                         AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE                                                                 DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                       TRANSFER(S)             IN PROPERTY

             11. Closed financial accounts

   None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
             otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
             financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
             cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
             include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
             unless the spouses are separated and a joint petition is not filed.)

                                                                         TYPE OF ACCOUNT, LAST FOUR
                                                                         DIGITS OF ACCOUNT NUMBER,                    AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                          OR CLOSING

             12. Safe deposit boxes

   None      List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
             immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
             depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                      NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                              OF THOSE WITH ACCESS                      DESCRIPTION                   DATE OF TRANSFER OR
 OR OTHER DEPOSITORY                                  TO BOX OR DEPOSITORY                      OF CONTENTS                    SURRENDER, IF ANY




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                        Best Case Bankruptcy
                                     Case 12-81181                     Doc 1   Filed 08/09/12      Page 55 of 65


                                                                                                                                                           5

             13. Setoffs

   None      List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                            DATE OF SETOFF                               AMOUNT OF SETOFF

             14. Property held for another person

   None      List all property owned by another person that the debtor holds or controls.


NAME AND ADDRESS OF OWNER                             DESCRIPTION AND VALUE OF PROPERTY                 LOCATION OF PROPERTY

             15. Prior address of debtor

   None      If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
             occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
             address of either spouse.

ADDRESS                                                                 NAME USED                                    DATES OF OCCUPANCY

             16. Spouses and Former Spouses

   None      If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
             Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
             commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
             the community property state.

NAME

             17. Environmental Information.

             For the purpose of this question, the following definitions apply:

             "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
             or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
             statutes or regulations regulating the cleanup of these substances, wastes, or material.

                   "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                   owned or operated by the debtor, including, but not limited to, disposal sites.

                   "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                   pollutant, or contaminant or similar term under an Environmental Law

   None      a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
             or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
             the Environmental Law:

                                                      NAME AND ADDRESS OF                      DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                        NOTICE                       LAW

   None      b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
             Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                      NAME AND ADDRESS OF                      DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                        NOTICE                       LAW

   None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
             the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
             docket number.



Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                     Best Case Bankruptcy
                                     Case 12-81181                     Doc 1   Filed 08/09/12        Page 56 of 65


                                                                                                                                                             6


NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                       DOCKET NUMBER                                 STATUS OR DISPOSITION

             18 . Nature, location and name of business

   None      a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
             partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
             immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
             within six years immediately preceding the commencement of this case.

             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
             years immediately preceding the commencement of this case.

             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
             years immediately preceding the commencement of this case.

                                LAST FOUR DIGITS OF
                                SOCIAL-SECURITY OR
                                OTHER INDIVIDUAL
                                TAXPAYER-I.D. NO.                                                                                BEGINNING AND
NAME                            (ITIN)/ COMPLETE EIN             ADDRESS                        NATURE OF BUSINESS               ENDING DATES

   None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


NAME                                                                   ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

             19. Books, records and financial statements

   None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
             supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS                                                                                         DATES SERVICES RENDERED

   None      b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
             of account and records, or prepared a financial statement of the debtor.

NAME                                            ADDRESS                                                  DATES SERVICES RENDERED

   None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
             of the debtor. If any of the books of account and records are not available, explain.

NAME                                                                                  ADDRESS

   None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
             issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS                                                                               DATE ISSUED



Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                       Best Case Bankruptcy
                                     Case 12-81181                     Doc 1   Filed 08/09/12        Page 57 of 65


                                                                                                                                                              7

             20. Inventories

   None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
             and the dollar amount and basis of each inventory.

                                                                                                         DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY                               INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

   None      b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                               NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY                                                              RECORDS

             21 . Current Partners, Officers, Directors and Shareholders

   None      a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


NAME AND ADDRESS                                                       NATURE OF INTEREST                            PERCENTAGE OF INTEREST

   None      b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
             controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                         NATURE AND PERCENTAGE
NAME AND ADDRESS                                                       TITLE                             OF STOCK OWNERSHIP

             22 . Former partners, officers, directors and shareholders

   None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
             commencement of this case.

NAME                                                      ADDRESS                                                  DATE OF WITHDRAWAL

   None      b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
             immediately preceding the commencement of this case.

NAME AND ADDRESS                                                       TITLE                             DATE OF TERMINATION

             23 . Withdrawals from a partnership or distributions by a corporation

   None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
             in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
             commencement of this case.

NAME & ADDRESS                                                                                                       AMOUNT OF MONEY
OF RECIPIENT,                                                          DATE AND PURPOSE                              OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                 VALUE OF PROPERTY

             24. Tax Consolidation Group.

   None      If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
             group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
             of the case.

NAME OF PARENT CORPORATION                                                                          TAXPAYER IDENTIFICATION NUMBER (EIN)




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                        Best Case Bankruptcy
                                     Case 12-81181                     Doc 1   Filed 08/09/12     Page 58 of 65


                                                                                                                                                          8

             25. Pension Funds.

   None      If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
             employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND                                                                              TAXPAYER IDENTIFICATION NUMBER (EIN)




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                    Best Case Bankruptcy
                                     Case 12-81181                     Doc 1       Filed 08/09/12        Page 59 of 65


                                                                                                                                                                   9

                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


Date August 9, 2012                                                    Signature    /s/ Tonya Gail McCrae
                                                                                    Tonya Gail McCrae
                                                                                    Debtor

                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                                             Best Case Bankruptcy
                                        Case 12-81181                  Doc 1       Filed 08/09/12    Page 60 of 65
B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                          United States Bankruptcy Court
                                                   Middle District of North Carolina (NC Exemptions)
 In re      Tonya Gail McCrae                                                                               Case No.
                                                                                    Debtor(s)               Chapter    13




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of      31
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date August 9, 2012                                                   Signature    /s/ Tonya Gail McCrae
                                                                                    Tonya Gail McCrae
                                                                                    Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                          Best Case Bankruptcy
    Case 12-81181   Doc 1   Filed 08/09/12   Page 61 of 65



}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




          North Carolina Employment Security
          Commission
          Post Office Box 26504
          Raleigh, NC 27611


          Credit Bureau
          Post Office Box 26140
          Greensboro, NC 27402


          NC Child Support
          Centralized Collections
          Post Office Box 900006
          Raleigh, NC 27675-9006


          Equifax Information Systems LLC
          P.O. Box 740241
          Atlanta, GA 30374-0241


          Experian
          P.O. Box 2002
          Allen, TX 75013-2002


          Trans Union Corporation
          P.O. Box 2000
          Crum Lynne, PA 19022-2000


          ChexSystems
          Attn: Consumer Relations
          7805 Hudson Road, Ste. 100
          Woodbury, MN 55125


          Internal Revenue Service (MD)**
          Post Office Box 7346
          Philadelphia, PA 19101-7346


          US Attorney's Office (MD)**
          Middle District
          Post Office Box 1858
          Greensboro, NC 27502-1858


          1st National Credit Card
          500 East 60th Street North
          Sioux Falls, SD 57104
Case 12-81181   Doc 1   Filed 08/09/12   Page 62 of 65




      Bank of America Home Loans**
      Attn: Managing Agent
      Post Office Box 5170
      Simi Valley, CA 93062-5170


      CortustCC
      PO Box 5431
      Sioux Falls, SD 57117-5431


      Credit Financial Services**
      Post Office Box 451
      Durham, NC 27702-0451


      Credit One Bank, N.A.**
      Post Office Box 98873
      Las Vegas, NV 89193-8873


      CSDDUR
      Post Office Box 530
      Durham, NC 27702-0530


      Durham County Tax Collector
      P.O.Box 3397
      Durham, NC 27702


      Durham County Tax Collector
      P.O.Box 3397
      Durham, NC 27702


      Durham County Tax Collector
      P.O.Box 3397
      Durham, NC 27702


      Durham Emergency Physicians **
      P.O. Box 15133
      Durham, NC 27704-0133


      First Premier Bank**
      Post Office Box 5524
      Sioux Falls, SD 57117-5524


      First Premier Bank**
      Post Office Box 5524
      Sioux Falls, SD 57117-5524
Case 12-81181   Doc 1   Filed 08/09/12   Page 63 of 65




      HSBC Bank
      Post Office Box 5253
      Carol Stream, IL 60197-5253


      Internal Revenue Service (MD)**
      Post Office Box 7346
      Philadelphia, PA 19101-7346


      LVNV Funding, LLC**
      Attn: Managing Agent
      P.O. Box 740281
      Houston, TX 77274


      NC Department of Justice
      for NC Department of Revenue
      Post Office Box 629
      Raleigh, NC 27602-0629


      NC Department of Justice
      for NC Department of Revenue
      Post Office Box 629
      Raleigh, NC 27602-0629


      North Carolina Dept. of Revenue**
      Post Office Box 1168
      Raleigh, NC 27602-1168


      Private Diagnostic Clinic, PLLC
      5213 South Alston Avenue
      Durham, NC 27713


      Regional Acceptance Corp.**
      Bankruptcy Section/Attn: Managing Agent
      Post Office Box 1847
      Wilson, NC 27894-1847


      Revenue Cycle Solutions
      Post Office Box 1022
      Wixom, MI 48393-1022


      Smith Debnam Narron Drake Saintsing
      & Myers, L.L.P
      P.O. Box 26268
      Raleigh, NC 27611
Case 12-81181   Doc 1   Filed 08/09/12   Page 64 of 65




      The Honorable Eric Holder
      U.S. Department of Justice
      950 Pennsylvania Ave. NW
      Washington, DC 20530-0001


      Trustee Services of Carolina, LLC
      C/o Brock & Scott, PLLC
      5431 Oleander Drive
      Wilmington, NC 28403


      US Attorney's Office (MD)**
      Middle District
      Post Office Box 1858
      Greensboro, NC 27502-1858


      Wells Fargo
      Central Bankruptcy Department
      PO Box 13765
      Roanoke, VA 24037


      WFNNB/LNBR
      Post Office Box 182125
      Columbus, OH 43218-2125
                                     Case 12-81181                     Doc 1    Filed 08/09/12   Page 65 of 65




                                                          United States Bankruptcy Court
                                                Middle District of North Carolina (NC Exemptions)
 In re     Tonya Gail McCrae                                                                         Case No.
                                                                                  Debtor(s)          Chapter     13




                                           VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



Date: August 9, 2012                                                   /s/ Tonya Gail McCrae
                                                                       Tonya Gail McCrae
                                                                       Signature of Debtor




Software Copyright (c) 1996-2012 CCH INCORPORATED - www.bestcase.com                                                      Best Case Bankruptcy
